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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

RENEE P. FAGAN, individually and as a CIVIL ACTION NO.:

parent, of a special needs minor child, MF;
Plaintiff,
Vv.

COUNCIL ROCK SCHOOL DISTRICT
BOARD OF EDUCATION; DR. ROBERT
FRASER, Ed.d, in his individual capacity and
in his official capacity as Superintendent of the
COUNCIL ROCK SCHOOL DISTRICT and
ANDY BLOCK, DENISE BROOKS, MARK
BYELICH, JOSEPH L. HIDALGO, KRISTIN
MARCELL, MARIANN MCKEE, EDWARD
SALAMON, EDWARD F. TATE, III, DR.
MICHAEL THORWART, all in their
individual capacities and in their capacities as
members of the COUNCIL ROCK, SCHOOL
DISTRICT BOARD OF EDUCATION,

he ee RR RR RR RR oR RS

Defendants.

 

 

 

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR
TEMPORARY RESTRAINING ORDER

COMES NOW Plaintiffs, Renee P. Fagan, individually as a sui juris pro se litigant and as
a parent, of a special needs minor child, MF, without the assistance of an attorney, by exercising
of the right to contract and refusal to CONSENT, are before this Court by Special Appearance
and without waiving any rights, remedies or defenses, statutorily or procedurally, hereby, file
this Complaint against, Council Rock School District Board (“Board ”), Dr. Robert Fraser, Ed.d,
in his individual capacity and in his official capacity as Superintendent of the Counsel Rock
School District; and Andy Block, Denise Brooks, Mark Byelich, Joseph L. Hidalgo, Kristin
Marcell, Mariann McKee, Edward J. Salamon Jr. , Edward F. Tate, III, and Dr. Michael

Thorwart, all individually elected officials sued in their individual capacity and in their capacity

 
 

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as members of the School Board (collectively, “Defendants”). In support of the claims set forth

herein, Plaintiffs allege and avers as follows:

INTRODUCTION

Plaintiff, MEF, is a minor child who resides in and attends Council Rock School District
(“CRSD”), in Bucks County, Pennsylvania. Plaintiff, a special needs minor child is and was at
all times relevant hereto a student at Council Rock Township School District, public school. Suit
is brought, herein on Plaintiff, Renee P. Fagan, as a parent of minor child MF. Plaintiff, Renee
P. Fagan is an adult individual who is a resident and taxpayer in the Council Rock School
District, in Bucks County, Pennsylvania, Plaintiff, Renee P. Fagan is the parent and legal
guardian of a special needs minor child MF.

Defendant Council Rock School District Board of Education (the “School Board” or the
“Board”) is a public entity which, acting under color of law, is responsible for the formulation
and implementation of all official governmental laws, policies, regulations and procedures in
effect for the Council Rock School District. Defendant, Dr. Robert Fraser, was at all relevant
times the Superintendent of the Council Rock School District; in that capacity, acting under color
of law, responsible for the implementation of all official governmental laws, policies,
regulations, and procedures governing the Council Rock School District. In addition,
Defendants, Edward J. Salamon, Jr. is currently serving as the President while Kristin Marcell is
currently serving as Vice-President of the School Board. The other seven Board members are
Defendants, Denise Brooks, Mariann McKee, Edward F. Tate, III, Joseph Hidalgo, Andy Block,
Mark Byelich, and Dr. Michael Thorwart. Plaintiff has sued all Defendants in their individual
and official capacities who are operating and acting under color of state law

FACTS
 

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A. Council Rock School District Board of Education

The Council Rock School District Board of Education is “composed of nine citizens who
are representatives of the residents of Borough of Newtown, Newtown Township, Northampton
Township, Upper Makefield Township, and Wrightstown Township. Each board are created
statutorily, consists of nine (9) members who serve four-year terms. Elections for school board
occur every two years. Five seats up for election and then two years later, four seats are up for
election. Terms for all school directors are four years unless there is an unexpired term on the
ballot. That seat would be for a two-year term. Board members are elected by district. Only the
registered voters of a particular area may vote for a particular seat in a by-district election. The
Council Rock School District school board are elected by the registered voters of a particular
area and seat in a by-district election. Members appear on the primary ballot as both a
Republican and/or a Democrat candidate, but may only circulate a petition on behalf of a party of
which he/she is a registered member; a registered member of the other party may circulate a
petition for members of that party to request your name be on the ballot

This nine-member School Board unanimously appointed Defendant Dr. Michael J.
Barnes to serve as Superintendent of Schools, effective July 1, 2021. As Superintendent, Dr.
Barnes is charged with the administration of the MCSD. In accordance with Section 321 of the
Pennsylvania Public School Code of 1949, All North Allegheny School District Board members
before being seated have executed and signed an Oath of Office swearing their support the
Canstitntion of the United States and the Constitution of the Commonwealth of Pennsylvania,
and to faithfully and impartially discharge her duties as a school director member to the best of
her ability, and with the laws “now in effect and hereafter to be enacted. Upon receipt of oath

they will be provided
 

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As discussed above, the nine individuals currently serving as School Board Members are
Defendants, Denise Brooks, Mariann McKee, Edward F. Tate, Ill, Joseph Hidalgo, Andy Block,
Mark Byelich, Dr. Michael Thorwart and Edward J. Salamon, Jr. as the President while Kristin
Marcell is currently serving as Vice-President of the School Board. . The nine individuals
unanimously appointed Defendant, Dr. Robert Fraser, to serve as Superintendent of the Council
Rock School.

This nine-member School Board unanimously appointed Defendant, Dr. Robert Fraser,
Ed.d to serve as Superintendent of Schools. As Superintendent, Dr. Robert Fraser, Ed.d is
charged with the administration of the CRSD. In accordance with Section 321 of the
Pennsylvania Public School Code of 1949, All Council Rock School District Board members
before being seated have executed and signed an Oath of Office swearing their support the
Constitution of the United States and the Constitution of the Commonwealth of Pennsylvania,
and to faithfully and impartially discharge her duties as a school director member to the best of
her ability, and with the laws “now in effect and hereafter to be enacted. Upon receipt of oath
they will be provided.

B. Infliction of Emotional and Intentional Distress

Defendant has fostered either intentionally and/or negligently the fear mongering and
intimidations tactics of district teachers in effort to enforce the overreaching policies of the
school board. Plaintiff, MF, is a special need minor child with downs syndrome (DS), is non-
verbal and extremely delayed in learning, and resides in and attends Council Rock School
District, in Bucks County, Pennsylvania. Plaintiff, MF, is a special need minor child was at all
times relevant hereto a student at Council Rock Township School District, public school. Suit

is brought, herein on Plaintiff, Renee P. Fagan, as a parent of minor child MF.
 

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Plaintiff, Renee P. Fagan is an adult individual who is a resident and taxpayer in the
Council Rock School District, in Bucks County, Pennsylvania. Plaintiff, Renee P. Fagan is the
parent and legal guardian of special needs child minor child MF. Defendants’ actions has
caused Renee P. Fagan, parent and legal guardian of special needs child minor child MF
emotional stress having to endure and watch said minor special needs child MF just wanting to
be like everyone else.

Plaintiff, MF, a special needs minor child currently has multiply therapies that all take
place in the school settings. Plaintiff, MF, a special needs minor child relies on facial and
psychical ques to understand communications and social norms. Defendants actions, optional or
mandatory, has caused Plaintiff, MF, a special needs minor child further learning delays due to
his current teachers and therapist(s) use of masks. Due to Defendants actions and his current
teacher and /or therapist use of mask it has caused Plaintiff, MF, a special needs minor child
emotional stress.

Diss to Defendants actions last year, was Plaintiff, MF, a special needs minor child was
forced to use online classes which consisted of approximately two calls a day for approximately
30 minutes. Plaintiff, MF, a minor child, with his special needs was unable to then as is now to
learn from this method. Because of Defendants enacted mask mandates last year, Plaintiff, MF,
a special needs minor child was forced to use online classes wherein he did not receive any of his
needed therapies throughout the duration of the school shut down which resulted in him losing a
year worth of learning which caused him to fall further behind. Any return to that kind of online
format of learning is simply not an option.

Plaintiff, MF, a special needs minor child, has downs syndrome wherein he has a flat

sinus cavity that is easily congested and has difficulty draining. Defendants’ actions, would
 

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cause Plaintiff, MF, a special needs minor child further mental deficiencies and loss of brain
function wearing a mask. Even in play, it would cause Plaintiff, MF, a special needs minor child,
to develop a sinus infection resulting in bacterial pneumonia and a hospital visit. With
Defendants’ mask policies, optional or mandatory in place, their actions have caused Renee P.
Fagan, parent and legal guardian of her special needs minor child MF undue financial burden,
emotional stress, and harm. As parent and legal guardian of Plaintiff, MF, Defendants actions
with their mask policies have caused Plaintiff Renee P. Fagan, emotional stress having to endure
and watch Plaintiff’s minor special needs child aspiring to be like his peers.

Plaintiff, MF, is a special needs minor child with downs syndrome and can get easily
confused if he attempts to wear a mask aspiring to mimic the other children and teachers. He
does not understand the dangerous health hazards of wearing a mask and wants to mimic the
other children and teachers in order to belong. Because of Defendants mask policies regardless
of whether it is optional or mandatory, causes Plaintiff, Renee P. Fagan, parent and legal
guardian of special needs child minor MF, to suffer fear and emotional stress having to endure
and watch he minor special needs child MF yearning to be like others.

Defendants are acting arbitrarily, under the color of law, and lack the necessary authority
with their enactment of their masks mandates, optional or otherwise, are discriminatory thereby
violating Plaintiff, MF a special needs minor child, federally protected rights. 42 U.S.C. §1983,
stoxtnantaly causing and inhibiting his needed therapies causing and creating division between
the sects of people regarding of medical condition or other factors.

C. The Masking Requirement Causes Immediate and Irreparable Harm to
Students, Staff, and Community.

In his Affidavit, attached hereto as Exhibit “A”, Stephen E. Petty, an expert in the field

of Industrial Hygiene who has testified as to the futility and danger caused by an individual
 

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wearing a mask in order to avoid transmitting or becoming infected with Covid-19, states the

following:

a RE

om I hold relevant industry certifications including
board certifications as a C.LH. (Certified Industrial Hygienist), a
C.S.P. (Certified Safety Professional), and as a P.E. (Professional
Engineer) in six states (Florida, Kentucky, Ohio, Pennsylvania,
Texas and West Virginia). My curriculum is attached hereto as
Exhibit i.

4. I have served as an expert in personal protective
equipment and related disciplines in approximately 400 legal
cases. I have often been certified as, and provided testimony as, an
expert in these areas. My list of representative cases is attached
hereto as Exhibit ii.

ee For example, I am currently serving as an expert in
the Monsanto Roundup and 3-M PFAS litigation. Recently I
testified in four trials for the DuPont C-8 litigation.

6. I taught Environmental and Earth Sciences as an
adjunct professor at Franklin University.

7. [hold nine U.S. patents, most related to heating,
ventilation and air conditioning (HVAC) systems.

8. I am acurrent member in good standing of the
following relevant associations: American Industrial Hygiene
Association (AIHA), American Board of Industrial Hygiene
(ABIH), American Conference of Governmental Ind. Hygienists
(ACGIH), American Institute of Chemical Engineers (AIChE),
American Society of Refrigeration, Air Conditioning and
Refrigeration Engineers (ASHRAE); Member ASHRAE 40 Std.
and TC 2.3, and Sigma Xi.

9, I am an expert in the field of Industrial Hygiene,
which is the science and art devoted to the anticipation,
recognition, evaluation, and control of those environmental factors
or stressors — including viruses — arising in or from the
workplace, which may cause sickness, impaired health and well-
being, or significant discomfort among workers or among the
citizens of the community

10, Industrial Hygiene is fundamentally concerned the
proper methods of mitigating airborne/dermal hazards and

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pathogens, as well as with the design and use of engineering
controls, administrative controls and personal protective
equipment, among other things.

Li, Medical doctors, virologists, immunologists, and
many public health professionals are not qualified experts in these
areas by virtue of those aforementioned credentials.

12. On May 7, 2021, the Centers for Disease Control
(CDC) updated its guidance, providing that the primary
mechanism for transmission of Covid-19 is through airborne
aerosols, and not, as previously stated, by touching contaminated
surfaces or through large respiratory droplets, as also stated during
previous periods of the pandemic.

13. Airborne viral aerosols can consist of a single viral
particle or multiple viral particles clumped together, and usually
smaller than 5 (microns) in size. By comparison, droplets are >5
to >10 p in size,

14. A square micron is approximately 1/4000th the area
of the cross-section of a human hair and 1/88th the diameter of a
human hair. Covid particles are —1/10 of a micron or
—1/40,000th the area of a cross section of a human hair or
—1/1,000th the diameter of a human hair.

15, Arecent University of Florida study capturing air
samples within an enclosed automobile cabin occupied by a Covid-
positive individual showed that the only culturable Covid-19 virus
samples obtained were between 0.25 to 0.5p1 in size. Particles
smaller than 5p are considered very small and/or very fine or
aerosols.

16. Very small particles do not fall by gravity in the
same rate that larger particles do and can stay suspended in still air
for a long time, even days to weeks.

17. Because they stay suspended in concentration in
indoor air, very small particles can potentially accumulate and
become more concentrated over time indoors if the ventilation is
poor.

18. Very small airborne aerosols pose a particularly
great risk of exposure and infection because, since they are so
small, they easily reach deep into the lung. This explains in part
why Covid-19 is so easily spread, and why so little Covid-19 is
required for infection.
 

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19. Exposure to airborne aerosols is a function of two
primary parameters: concentration and time. Less is better
regarding both parameters.

20. For many reasons, personal protective equipment
(PPE) is the least desirable way to protect people from very small
airborne aerosols. Moreover, masks are not PPE since they cannot
be sealed and do not meet the provisions of the Occupational
Safety and Health Administration (OSHA) Respiratory Protection
Standard (RPS), namely 29 CFR 1910.134.

21. Regarding PPE, facial coverings do not effectively
protect individuals from exposure to very small airborne aerosols.
A device referred to as a respirator is required to provide such
protection.

22. The AIHA, in their September 9, 2020 Guidance
Document for COVID-19 (Exhibit iii) noted that the acceptable
relative risk reduction methods must be >90%; mask were shown
to be only 10% and 5% (see Exhibit iii - Figure 2) and far below
the required 90% level.

23. Similarly, Shah, et al, 2021 (Exhibit iv), using
ideally sealed masks and particles 1 micron in size, reported
efficiencies for the more commonly used cloth masks and surgical
masks of 10% and 12% respectively. No mask can be perfectly
sealed, thus “real world” effectiveness would be even lower.

24, Industrial hygienists refer to a “Hierarchy of
Controls” that are typically implemented to minimize exposures,
including exposures to very small airborne aerosols like Covid-19.

25. Regarding practical or “engineering” controls,
industrial hygienists focus on practices that dilute, destroy, or
contain airborne hazards (or hazards in general).

26. PPE— especially facial coverings — do not dilute,
destroy, or contain airborne hazards. Therefore, facial coverings do
not appear anywhere in the Industrial Hygiene (IH) Hierarchy of
Controls for very small airborne aerosols like Covid-19. Even
respirators (part of the PPE Category and not masks) are in the last
priority on the Hierarchy of Controls.

27. Facial coverings are not comparable to respirators.
Leakage occurs around the edges of ordinary facial coverings.
Thus, ordinary facial coverings do not provide a reliable level of
protection against inhalation of very small airborne particles and
are not considered respiratory protection.

-9.
 

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28. For example, during the seasonal forest fires in the
summer of 2020, the CDC issued public guidance warning that
facial coverings provide no protection against smoke inhalation.
That is because facial coverings do not provide a reliable level of
protection against the small particles of ash contained in smoke.
Ash particles are substantially larger than Covid-19 aerosolized
particles.

29. Ihave reviewed the Mayfield City School District
(MCSD) “Protective Facial Covering Policy During
Pandemic/Endemic Events” as set forth in the Policy Manual of the
MCSD Board of Education,

30. Ordinary facial coverings like the ones required by
the MCSD facial covering policy do not meet any of the several
key OSHA Respiratory Protection Standards for respirators.

31. Because of the gaps around the edges of facial
coverings required by MCSD’s policy, they do not filter out
Covid-19 aerosols. The policy stating masks will be worn without
gaps defies known science that masks worn today cannot be sealed
and always have gaps.

32. The effectiveness of a cloth facial covering falls to
zero when there is a 3% or more open area in the edges around the
sides of the facial covering.

33. Most over-the-counter disposable facial coverings
have edge gaps of 10% or more. When adult-sized facial coverings
are used by children, edge gaps will usually greatly exceed 10%.

34. Even short breaks (e.g. to eat) expose individuals to
Covid-19 aerosols in indoor spaces.

35. Ordinary cloth facial coverings like the ones
required by the MCSD mask requirement do not provide any
filtering benefit relative to particles smaller than 511 if not sealed.

36. Substantial mitigation of Covid-19 particles could
be immediately achieved by:

a. opening windows and using fans to draw outdoor air
into indoor spaces (diluting the concentration of
aerosols),

b. setting fresh air dampers to maximum opening on
HVAC systems,

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c. overriding HVAC energy controls,
d. increasing the number of times indoor air is recycled,
e. installing needlepoint ionization technology to
HVAC intake fans, and
f. installing inexpensive ultraviolet germicide devices
into HVAC systems.
35. All of the above-referenced techniques are more effective

and meet standard industrial hygiene hierarchy of controls
(practices) for controlling exposures in place for nearly 100 years.
The use of cloth facial coverings do not fit within these basic
hierarchy of controls since masks are not PPE and cannot be
sealed. There are no OSHA standards for facial coverings (masks)
as respiratory protection.

36. Extended use of respiratory PPE is not indicated without
medical supervision.

37.  Asexplained in an article titled “Is a Mask That Covers the
Mouth and Nose Free from Undesirable Side Effects in Everyday
Use and Free of Potential Hazards?” that was published on April
20, 201, in the International Journal of Environmental Research
and Public Health and that is attached to this Affidavit as Exhibit
iv, the following negative effects from wearing masks was reported
in the literature:

 

 

 

Increased risk of adverse effects when using masks:

 

 

Internal diseases Psychiatric Illness Neurological Diseases
COPD Claustrophobia Migraines and Headache Sufferers
Sleep Apnea Syndrome —_ Panic Disorder Patients with intracranial Masses

advanced renal Failure Personality Disorders Epilepsy

Obesity Dementia

Cardiopulmonary Dysfunction Schizophrenia

Asthma helpless Patients

fixed and sedated Patients

Pediatric Diseases ENT Diseases Occupational Health Restrictions moderate heavy
Asthma Vocal Cord Disorders physical Work

Respiratory diseases Rhinitis and obstructive Diseases

Cardiopulmonary Diseases

Neuromuscular Diseases Dermatological Diseases Gynecological restrictions
Epilepsy Acne Pregnant Women

Atopic

Figure 5, Diseases/predispositions with significant risks, according to the literature found, when using masks. Indications for weighing up medical mask
exemption certificates.

 

Example statements made in the paper include the following: “The overall
possible resulting measurable drop in oxygen saturation (02) of the blood
on the one hand and the increase in carbon dioxide (CO2) on the other
contribute to an increased noradrenergic stress response, with heart rate
increase and respiratory rate increase, in some cases also to a significant

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blood pressure increase.” Exhibit iv, p. 25. In fact, “Neither higher level
institutions such as the WHO or the European Centre for Disease
Prevention and Control (ECDC) nor national ones, such as the Centers for
Disease Control and Prevention, GA, USA (CDC) or the German RKI,
substantiate with sound scientific data a positive effect of masks in the
public (in terms of a reduced rate of spread of COVID-19 in the
population).” Exhibit iv, p. 24. For these reasons, students who are
required to wear masks pursuant to a mandate suffer immediate and
irreparable injury, loss, or damage.

38. Insummary:

a. PPE is the least desirable way to protect people from very small
airborne aerosols.

b. Facial coverings as required by the MCSD policy are not
recognized as PPE since they cannot be sealed and are not covered
by the OSHA RPS.

0 If PPE were to be used for protection, respirators, not facial
coverings as required by the MCSD policy are needed to provide
any effective protection from very small airborne aerosols.

d. Very small aerosol particles are more likely to be a greater cause of
, disease than respiratory droplets because they can evade PPE and
reach deep into the lungs, whereas respiratory droplets have to
work against gravity in order to travel up a person’s nose into the
sinus.

e. Much better alternatives to controlling exposure are available (.e.,
engineering controls of dilution — ventilation with increased fresh
air and destruction), and should be used to minimize exposures as
opposed to masks.

f. Individuals who are required to wear masks pursuant to a mandate
suffer immediate and irreparable injury, loss, and damage due to
the overall possible resulting measurable drop in oxygen saturation
of the blood on one hand and the increase in carbon dioxide on the
other, which contributes to an increased noradrenergic stress
response, with heart rate increase and respiratory rate increase and,
in some cases, a significant blood pressure increase.

Plaintiffs note that the Commonwealth of Pennsylvania was given $7,745,724,379 pursuant
to the American Rescue Plan (“ARP”) Act of 2021 by agreeing to implement the federal guidelines

set forth by the CDC for COVID-19 mitigation efforts. See the attached letter from the U.S.

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Secretary of Education, attached hereto as Exhibit “B”. See also,
hitps://oese.ed.vow/files/202 1 /08/Pennsylvania-ARP-ESSER-State-Plan-Final.pdf, . On September
8, 2021, Noe Ortega, Ph.D., the Secretary of Education, of Commonwealth of Pennsylvania
Department of Education sent a quid pro quo threatening letter (in reading it clearly exhibits the
mantra ‘do as I say or suffer the consequences) attached hereto as Exhibit “C”. The letter links to
the CDC guidelines available at: https://Awww.cde.ov/coronavirus/2019-

neov/community/schools-childcare/operation-strategy.html. The guidelines suggest that a school

 

board would forfeit ARP allocations by making masks optional, and states that have prohibited
mask mandates in schools received letter notifying them that they will not receive ARP funds.
Accordingly, it seems Defendants have a financial incentive for implementing the mask mandate,
despite such a requirement serves no scientific purpose, and subjects individuals who wear masks to
the health risks discussed above.

Plaintiff, Renee P. Fagan is the parent and legal guardian of a special needs child minor
child MF is aggrieved by the immediate and irreparable injury, loss, and damage suffered by
minor special needs child because minor child is unable to wear a mask pursuant to the School
Board’s mask mandate optional or otherwise, which is not only unsupported by science, but
which also results in the possible resulting measurable drop in oxygen saturation of the blood on
one nied and the increase in carbon dioxide on the other, which contributes to an increased
noradrenergic stress response, with heart rate increase and respiratory rate increase and, in some

cases, a significant blood pressure increase.

LAW AND ARGUMENT

The Federal Rules of Civil Procedure permit this Court to issue a temporary restraining order

under certain conditions. Specifically, the Rules provide the following:

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(b) Temporary Restraining Order.

(1) Issuing Without Notice. The court may issue a temporary restraining
order without mitten or oral notice to the adverse party or its attorney only
if: (A) specific facts in an affidavit or a verified complaint clearly show
that immediate and irreparable injury, loss, or damage will result to the
movant before the adverse party can be heard in opposition; and (B)

the movant's attorney certifies in writing any efforts made to give notice
and the reasons why it should not be required."

Fed. R. Civ. P. 65(b)(1) (emphasis added). "The decision to grant a preliminary injunction
requires weighing whether the moving "party (1) 'establish[ed] that lie is likely to succeed_on
the merits,’ (2) 'that he is likely to suffer irreparable harm in the absence of preliminary relief,'
(3) 'that the balance of equities tips in his favor,’ and (4) 'that an injunction is in the public
interest."" Fowler v. Benson, 924 F.3d 247, 256 (6th Cir. 2019) (quoting Winter v. Nat. Res.
Del: Council, Inc., 555 U.S. 7, 20 (2008) (emphasis added)). Mich. Educ. Ass'n Family Retired

Staff Ass'n v. Mich. Educ. Ass'n (6th Cir. 2021).

Plaintiff, is aggrieved by the immediate and irreparable injury, loss, and damage suffered.
because Plaintiff is required to wear a mask pursuant to the North Allegheny School Board's
mask mandate, which is not only unsupported by science, but which also results in the possible
resulting measurable drop in oxygen saturation of the blood on one hand and the increase in
carbon dioxide on the other, which contributes to an increased noradrenergic stress response,
with heart rate increase and respiratory rate increase and, in some cases, a significant blood
pressure increase. Plaintiff is likely to succeed on the merits, will continue to suffer irreparable
harm in the absence of preliminary relief, the balance of requires tip in theirs favor, and an

injunction is in the public interest.

Violation of Procedural Due Process -
(U.S. Const. amend. V, XIV and PA Const. Art. I, § 9)

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In order establish a claim under section 1983 of the Civil Rights Act, a plaintiff must
prove a Defendant: (a) acted under the color of state law; (b) proximately causing; (c) the Plaintiff
to be deprived of a federally protected right. 42 U.S.C. §1983. In the instant case, Defendants
unquestionably acted under the color of state law. Each Individual Defendant is an elected, voting
member of the Council Rock School District Board of Education with the exception of Defendant
Dr. Robert Fraser, Ed.d, who is the Superintendent of the North Allegheny School District. Under
the Fifth Amendment to the Constitution, no person may be deprived of life, liberty, or property
without due process of law. U.S. Const. Ann., Amendment V. The Fourteenth applies the
protections of the Fifth Amendment to state actors. U.S. Const. Ann., Amendment XIV.
Similarly, Article 1, § 11 of the Pennsylvania Constitution provides, " All courts shall be open;
and every man for an injury done him in his lands, goods, person or reputation shall have
remedy by due course of law, and right and justice administered without sale, denial or delay.
Suits may be brought against the Commonwealth in such manner, in such courts and in such cases
as the Legislature may by law direct." Article .1, § 9 of the Pennsylvania Constitution affords the
people of Pennsylvania with right to be free from violations of the procedural due process rights,

and no person may be deprived of life, liberty, or property without due process of law.

Plaintiffs have constitutionally protected interests in the benefits that come from the not
being subject to the Board's mask mandate, including the ability to pursue an education without
being subjected to health risks that are not offset by any scientifically provable benefits.
Defendants’ implementation of the mask policy unlawfully deprives Plaintiffs of these and other
constitutionally-protected interests without due process of law. Such deprivation occurred with
no notice or meaningful opportunity to be heard as the Superintendent instated the mask mandate

prior to offering an opportunity for public discussion. Such deprivation was arbitrary, capricious,

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based on ignorance without inquiry into facts, and in violation of the School Board's own
policies and othere applicable laws. Such deprivation violates the Fifth and Fourteenth
Amendments of the Unites States Constitution,

Violation of Procedural Due Process, Reservation of the People

Powers and the Discrimination by Commonwealth and its political
subdivisions. (PA Const. Art. I, § 11, 25 & 26) Against All Defendants

Under Article 1, § 11 of the Pennsylvania Constitution provides, “All courts shall be
open; and every man for an injury done him in his lands, goods, person or reputation shall have
remedy by due course of law, and right and justice administered without sale, denial or delay.
Suits may be brought against the Commonwealth in such manner, in such courts and in such
cases as the Legislature may by law direct.” It also affords the people of Pennsylvania with
right to be free from violations of the procedural due process rights, and no person may be
deprived of life, liberty, or property without due process of law. Article 1, § 25 of the
Pennsylvania Constitution affords the people of Pennsylvania with Reservation of powers in
people rights to be free from violations and to guard against transgressions of the high powers
which have been delegated, and declared that everything is excepted out of the general powers
of government and shall forever remain inviolate Article 1, § 26 of the Pennsylvania
Constitution affords the people of Pennsylvania the rights have been infringed upon to be free
from violations wherein neither the Commonwealth nor any political subdivision thereof shall
deny to any person the enjoyment of any civil right, nor discriminate against any person in the
exercise of any civil right.

The Council Rock School District is a quasi-governmental agency with arbitrary powers
and their subordinate school is imposing and infringing upon Plaintiff constitutionally rights
with their illegal and unlawful mandates of masking optional or otherwise. They are in direct

violation of the oaths to do no harm, lack the necessary authority to force Plaintiffs or anyone to

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comply. Plaintiff has constitutionally protected interests in the benefits that come from the not
being subject to the Board’s mask mandate, including the ability to pursue her employment
without being-subjected to health risks that are not offset by any scientifically provable benefits.
Defendants’ implementation of the mask policy unlawfully deprives Plaintiff of her and others
constitutionally protected interests without due process of law. Such deprivation occurred with
no notice or meaningful opportunity to be heard, as the Superintendent instituted the mask
mandate prior to offering an opportunity for public discussion. Such deprivation was arbitrary,
capricious, based on ignorance without inquiry into facts, and in violation of the School Board’s
own policies and other applicable laws. Such deprivation violates Article 1, §11 of the
Pennsylvania Constitution.
CONCLUSION

For these reasons, Plaintiffs respectfully request that the Court (i) vacate and set aside
the Defendants’ mask mandate as well as any other action taken by Defendants to institute the
mask mandate and implement the provisions of the mask policy; (ii) declare that the
Defendants’ masking policy is void and without legal force or effect; (iii) declare that the
institution of the mask policy and actions taken by Defendants to implement the mask policy
are arbitrary, capricious, based on ignorance due to failure to inquire into facts, otherwise not
in accordance with law, and without observance of required procedures; (iv) declare that the
mask policy and the actions taken by Defendants to implement the mask policy are in violation
of the Constitution and contrary to the laws of the United States and the Commonwealth of
Pennsylvania; (5) temporarily restrain, as well as preliminarily and permanently enjoin
Defendants, their agents, servants, employees, attorneys, and all persons in active concert or

participation with any of them, from implementing or enforcing the mask policy and from

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taking any other action to implement the masking policy that is not in compliance with
applicable law; and (6) grant such other and further relief as may be just, equitable, and proper

including without limitation, an award of attorneys’ fees and costs to Plaintiffs.

Respectfully submitted this dndday of September, 2021.
Respectfully Presented,

All Rights Reserved, Without Prejudice &
Without Recourse

Ait 0) Dik Muy?

Rened.P . Fagan, 8 sur \uris pro se

40 Rembrandt Lane

Holland, PA 18966

Telephone: (267)-784-9142

Renee P. Fagan, individually and as a parent,
of a special needs minor child, MF

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EXHIBIT “A”
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EXHIBIT O

AFFIDAVIT OF STEPHEN E. PETTY, P.E., C.1.H., C.S.P.

Before me, the undersigned authority, on this day personally appeared STEPHEN E.
PETTY (“Affiant”) who, being by me first duly sworn, deposes and says:

1. Iam an adult in sound mind and body and have personal knowledge of the fact averred
herein.

2. Since April 14, 1996, I have owned and operated EES Group, Inc., a consultancy
corporation specializing in health and safety and forensics.

3. [hold relevant industry certifications including board certifications as a C.I.H. (Certified
Industrial Hygienist), a C.S.P. (Certified Safety Professional), and a P.E. (Professional Engineer) in
six states (Florida, Kentucky, Ohio, Pennsylvania, Texas, and West Virginia). My curriculum is
attached hereto as Exhibit i.

A, I have served as an expert in personal protective equipment and related disciplines in
approximately 400 legal cases. I am certified in and have provided testimony as an expert in these
areas. My list of representative cases is attached hereto as Exhibit ii.

5. For example, | am currently serving as an expert in the Monsanto Roundup and 3M PFAS
litigation. Recently I testified in four trials for the DuPont C8 litigation.

6. I taught Environmental and Earth Sciences as an adjunct professor at Franklin University.

7, I hold nine U.S. patents relating to heating, ventilation and air conditioning (HVAC)
systems.

8. Lam acurrent member in good standing of the following relevant associations: American
Industrial Hygiene Association (AIHA), American Board of Industrial Hygiene (ABIH),
American Conference of Governmental Industrial Hygienists (ACGIH), American Institute of
Chemical Engineers (AIChE), American Society of Heating, Refrigeration, and Air Conditioning
Engineers (ASHRAE); Member ASHRAE 40 Std. and TC 2.3, and Sigma Xi.

9. Iam an expert in the field of Industrial Hygiene, which is the science and art devoted to
the anticipation, recognition, evaluation, and control of those environmental factors or stressors
—. including viruses — arising in or from the workplace, which may cause sickness, impaired
health and well-being, or significant discomfort among workers or among the citizens of the
community.

10, Industrial Hygiene is fundamentally concerned with the proper methods of mitigating
airborne/dermal hazards and pathogens, as well as with the design and use of engineering controls,
administrative controls, and personal protective equipment, among other things.

 
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Affidavit of Stephen E. Petty, P.E., C.1.H., C.S.P.

11, Medical doctors, virologists, immunologists, and many public health professionals are not
qualified experts in these areas by virtue of those aforementioned credentials.

12, On May 7, 2021, the Centers for Disease Control (CDC) updated its guidance, providing
that the primary mechanism for transmission of Covid-19 is through airborne aerosols, and not,
as previously stated, by touching contaminated surfaces or through large respiratory droplets, as
also stated during previous periods of the pandemic.

13. Airborne viral aerosols can consist of a single viral particle or multiple viral particles
clumped together, and usually smaller than 5 p (microns) in size. By comparison, droplets are
>5 p to >10 pin size.

14. The area of a micron by a micron is approximately 1/4,000th of the area of the cross-
section of a human hair and 1/88th the diameter of a human hair. Covid particles are 1/10 of a
micron or ~1/40,000th of the area of a cross section of a human hair and ~1/880th the diameter
of a human hair.

15. A recent University of Florida study capturing air samples within an enclosed automobile
cabin occupied by a Covid-positive individual showed that the only culturable Covid-19 virus
samples obtained were between 0.25p to 0.5p in size. Particles smaller than 5p are considered
very small and/or very fine or aerosols.

16. Very small particles do not fall by gravity in the same rate that larger particles do and can
stay suspended in still air for a long time, even days to weeks.

17. Because they stay suspended in concentration in indoor air, very small particles can
potentially accumulate and become more concentrated over time indoors if the ventilation is poor.

18. Very small airborne aerosols pose a particularly great risk of exposure and infection
because, since they are so small, they easily reach deep into the lung. This explains in part why
Covid-19 is so easily spread, and why so little Covid-19 is required for infection.

19, Exposure to airborne aerosols is a function of two primary parameters: concentration and
time. Less is better regarding both parameters,

20. For many reasons, personal protective equipment (PPE) is the least desirable way to
protect people from very small airborne aerosols. Moreover, masks are not PPE since they cannot
be sealed and do not meet the provisions of the Occupational Safety and Health Administration
(OSHA) Respiratory Protection Standard (RPS), namely 29 CFR 1910,134.

21. Regarding PPE, facial coverings do not effectively protect individuals from exposure to
very small airborne aerosols, A device referred to as a respirator is required to provide such
protection.
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Affidavit of Stephen E. Petty, P.E., C.1.H., C.S.P.

22. The AIHA, in their September 9, 2020 Guidance Document for COVID-19 (Exhibit iii)
noted that the acceptable relative risk reduction methods must be >90%; masks were shown to
be only 10% and 5% (see Exhibit iii - Figure 2) and far below the required 90% level.

23, Similarly, Shah et al, 2021 (Exhibit iv), using ideally sealed masks and particles 1 micron
in size, reported efficiencies for the more commonly used cloth masks and surgical masks of 10%
and 12% respectively. No mask can be perfectly sealed, thus “real world” effectiveness would
be even lower.

24, Industrial hygienists refer to a “Hierarchy of Controls” that are typically implemented to
minimize exposures, including exposures to very small airborne aerosols like Covid-19.

25. Regarding practical or “engineering” controls, industrial hygienists focus on practices that
dilute, destroy, or contain airborne hazards (or hazards in general).

26. PPE — especially facial coverings — do not dilute, destroy, or contain airborne hazards.
Therefore, facial coverings are not contained in the Industrial Hygiene (IH) Hierarchy of
Controls. Even respirators (part of the PPE Category and not masks) are in the last priority on
the Hierarchy of Controls.

27. Facial coverings are not comparable to respirators. Leakage occurs around the edges of
ordinary facial coverings. Thus, ordinary facial coverings do not provide a reliable level of
protection against inhalation of very small airborne particles and are not considered respiratory
protection.

28. For example, during the seasonal forest fires in the summer of 2020, the CDC issued
public guidance warning that facial coverings provide no protection against smoke inhalation.
That is because facial coverings do not provide a reliable level of protection against the small
particles of ash contained in smoke. Ash particles are substantially larger than Covid-19
aerosolized particles.

29, I have reviewed the Mayfield City School District (MCSD) “Protective Facial Covering
Policy During Pandemic/Endemic Events” as set forth in the Policy Manual of the MCSD Board
of Education.

3(), Ordinary facial coverings like the ones required by the MCSD facial covering policy do
not meet any of the several key OSHA Respiratory Protection Standards for respirators.

31, Because of the gaps around the edges of facial coverings required by MCSD’s policy, they
do not filter out Covid-19 aerosols. The policy stating masks will be worn without gaps defies

known science that masks worn today cannot be sealed and always have gaps.

32. The effectiveness of a cloth facial covering falls to zero when there is a 3% or more open
area in the edges around the sides of the facial covering.

33. Most over-the-counter disposable facial coverings have edge gaps of 10% or more. When
adult-sized facial coverings are used by children, edge gaps will usually greatly exceed 10%.

3

 
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Affidavit of Stephen E. Petty, P.E., C.L.H., C.S.P.

32. Even short breaks (e.g. to eat) expose individuals to Covid-19 aerosols in indoor spaces.

33. Ordinary cloth facial coverings like the ones required by the MCSD mask requirement do
not provide any filtering benefit relative to particles smaller than 5p if not sealed.

34. Substantial mitigation of Covid-19 particles could be immediately achieved by:

a. opening windows and using fans to draw outdoor air into indoor spaces (diluting
the concentration of aerosols),

b. setting fresh air dampers to maximum opening on HVAC systems,

c. overriding HVAC energy controls,

d. increasing the number of times indoor air is recycled,

e, installing needlepoint ionization technology to HVAC intake fans, and

f. installing inexpensive ultraviolet germicide devices into HVAC systems.
35.  Allofthe above-referenced techniques are more effective and meet standard industrial
hygiene hierarchy of controls (practices) for controlling exposures in place for nearly 100
years. The use of cloth facial coverings do not fit within these basic hierarchy of controls since
masks are not PPE and cannot be sealed. There are no OSHA standards for facial coverings

(masks) as respiratory protection.

36. Extended use of respiratory PPE is not indicated without medical supervision.

 

37. Asexplained in an article titled “Is a Mask That Covers the Mouth and Nose Free from
Undesirable Side Effects in Everyday Use and Free of Potential Hazards?” that was published
on April 20, 2021, in the International Journal of Environmental Research and Public Health
and that is attached to this Affidavit as Exhibit v, the following negative effects from wearing
masks was reported in the literature:
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Affidavit of Stephen E. Petty, P.E., C.1.H., C.S.P.

 

 

Internal diseases Psychiatric liness_ euro!

COPD Claustrophobia Migraines and Headache Sufferers
Sleep Apnea Syndrome Panic Disorder Patients with intracranial Masses
advanced renal Failure Personality Disorders Epilepsy

Obesity Dementia

Cardiopulmonary Dysfunction Schizophrenia

Asthma helpless Patients

fixed and sedated Patients

Pediatric Diseases ENT Diseases Occupational Health Restrictlons
Asthma Vocal Cord Disorders moderate / heavy physical Work
Respiratory diseases Rhinitis and obstructive Diseases
Cardiopulmonary Diseases
Neuromuscular Diseases | es Pregnant Women
Epilepsy Acne

Atopic

 

 

 

Figure 5. Diseases/ predispositions with significant risks, according to the literature found, when
using masks. Indications for weighing up medical mask exemption certificates.

Example statements made in the paper include the following: “The overall possible resulting
measurable drop in oxygen saturation (02) of the blood on the one hand and the increase in
carbon dioxide (CO2) on the other contribute to an increased noradrenergic stress response,
with heart rate increase and respiratory rate increase, in some cases also to a significant blood
pressure increase.” Exhibit v, p. 25. In fact, “Neither higher level institutions such as the
WHO or the European Centre for Disease Prevention and Control (ECDC) nor national ones,
such as the Centers for Disease Control and Prevention, GA, USA (CDC) or the German RK],
substantiate with sound scientific data a positive effect of masks in the public (in terms of a
reduced rate of spread of COVID-19 in the population).” Exhibit v, p. 24, for these reasons,
students who are required to wear masks pursuant to a mandate suffer immediate and
irreparable injury, loss, or damage.

38.  Insummary:

a. PPE is the least desirable way to protect people from very small airborne
aerosols.

b. Facial coverings as required by the MCSD policy are not recognized as PPE since
they cannot be sealed and are not covered by the OSHA RPS.

c. If PPE were to be used for protection, respirators, not facial coverings as
required by the MCSD policy are needed to provide any effective protection
from very small airborne aerosols.

d. Very small aerosol particles are more likely to be a greater cause of disease than
respiratory droplets because they can evade PPE and reach deep into the lungs,
whereas respiratory droplets have to work against gravity in order to travel up a
person's nose into the sinus.
 

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Affidavit of Stephen E. Petty, P.E., C.I.H., C.S.P.

e. Much better alternatives to controlling exposure are available (i.c., engineering
controls of dilution — ventilation with increased fresh air and destruction), and
should be used to minimize exposures as opposed to masks.

f, Individuals who are required to wear masks pursuant to a mandate suffer
immediate and irreparable injury, loss, and damage due to the overall possible
resulting measurable drop in oxygen saturation of the blood on one hand and the
increase in carbon dioxide on the other, which contributes to an increased
noradrenergic stress response, with heart rate increase and respiratory rate
increase and, in some cases, a significant blood pressure increase.

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Stephén Petty, P.E., C.I\H/

STATE OF OHIO
COUNTY OF FRANKLIN

Sworn to and subscribed before me this 1 day of September, 2021, by
Ore aa uty ,(_) who is personally known to me or (_+) who produced
EU dy WeVyo Uieunge as identification.

Guus

JNOTARY PUBLIC, State of Qi O
Commission No.
My commission expires: 2 - 2 - 202

   
 
  

, LORI A JONES
m Notary Public
2 State of Ohio

My Comm. Expires

February 3, 2026

 

 
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EXHIBIT i

Mr. Stephen E. Petty, P.E., C.1.H., C.S.P.
President

Company

EES Group, Inc.

(d/b/a - Engineering & Expert Services, Inc.)
1701 E. Atlantic Blvd., Suite 5

Pompano Beach, FL 33060

Education

B.S., Chemical Engineering, University of Washington
M.S., Chemical Engineering, University of Washington
M.B.A., University of Dayton

Experience

General

Mr. Petty is President of EES Group, Inc. (Engineering & Expert Services, Inc.). He
started EES Group, Inc. in 1996, ultimately having offices in Ohio (Columbus and
Cleveland) and in Florida (Pompano Beach). In 2015, he sold the Ohio portion of EES
Group, Inc. while retaining Florida operations. Prior to starting EES Group, Inc. in 1996,
Mr. Petty was the Manager of Residential and Commercial Technology at Columbia
Energy and a Senior Research Engineer at Battelle. He has 37 years of forensic
engineering, environmental health and safety, and energy experience. Since 2002, he
has completed or supervised over 7,000 engineering forensic and health and safety
projects for nearly 100 clients. This culminated in the writing of a Forensic Engineering
textbook targeted at assessing claims for the insurance industry (Forensic Engineering:
Damage Assessments for Residential and Commercial Structures, January 3, 2013,
CRC Press publication; 24 Edition to issue in 2022).

Mr. Petty’s health and safety experience has focused on projects for the legal
community (expert witness), the insurance industry, institutions, and the private sector.
His expertise covers the area of Professional Engineering (PE’s in six states), Industrial
Hygiene (registered Certified Industrial Hygienist - CIH) and safety (registered Certified
Safety Professional - CSP). As a CIH, he investigates the causes/solutions of an
individual’s sickness, impaired health, and discomfort at work and in the home. As a
CSP, he investigates situations primarily arising out of possible Occupational Safety and
Health Administration (OSHA) violations associated with workplace injuries. In other
cases, this extends to customers injured at facilities where they are working or
shopping. Finally, he is a certified Asbestos Evaluation Specialist in Ohio.

Mr. Petty has been involved in ~400 expert witness cases to date, with a primary focus
on exposure to organic chemicals, inorganic chemicals, pesticides, PFOA, PFAS, mold,
bacteria (Legionella), heat and bio-toxins; OSHA workplace compliance (chemical
exposures, amputations, and slips, trips and falls, and building envelope systems). He
has also supported/testified on building envelope, water cause and origin, structural,

and roof damage claims. His company assembled a nine-member team of experts that
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Mr. Stephen E. Petty, P.E., C.LH., C.S.P

won the expert witness contract for the Ohio School Facilities Commission (OSFC) from
2004-2008.

Mr. Petty has extensive expertise on heating, ventilation and air conditioning (HVAC)
systems and holds nine (9) U.S. patents primarily related to HVAC systems.

His safety and environmental experience also includes completion of many complex
projects in Risk Assessment (BUSTR, EPA and VAP), Industrial Hygiene, Process
Safety Management (PSM), Risk Management Plans (Health and Safety Audits),
Environmental Assessments (EA) and Environmental Impact Statements (EIS), and air
and water permits (PTI, PTO, NPDES, etc.) for numerous clients across the United
States.

Finally, he has served in a leadership role in technology evaluations, business plans,
and product development activities for dozens of products and ventures. He has been
the invited dinner/lunch speaker to ASHRAE/AIHA and legal association functions.

Health and Safety Experience

> Mr. Petty has been utilized as an expert witness in ~400 cases primarily related
to human exposure(s) and safety (OSHA). In the exposure area, he has worked/
testified on cases of exposure to acid gases, benzene, isocyanates,
formaldehyde, gasoline, paint products, other organic chemicals, PFOA/PFAS
silica, pesticides, Legionella and other bacteria and molds. In the safety area, he
has worked/testified in worker exposure to chemicals, falls, and amputation
cases and the standard of care required to protect workers and customers. He is
recognized for his ability to reduce complex sets of information regarding
exposure and compliance with regulatory standards into simple but accurate
reports and presentations. Areas of practice include:

e Occupational Safety and Health Administration Regulations:

a OSHA Health and Safety Regulations for Workers 29 CFR 1910
General Industry and 29 CFR 1926 Construction Industry

" OSHA Process Safety Management of Highly Hazardous
Chemicals - 29 CFR 1910.119

" Personal Protective Equipment - PPE - 29 CFR 1910.132

" Respiratory Protection Standard - 29 CFR 1910.134 and
preceding/current ANSI Z88 Standards.

a 29 CFR 1910.1000 - OSHA PEL and Controls Standard
" 29 CFR 1910.1028 - Benzene Standard

4 Hazard Communication Standard - HAZCOM - 29 CFR 1910.1200
and preceding/current ANSI Z129.1 (Precautionary Labeling), ANSI
Z400.1 (MSDS Preparation) and LAPI Industry Standards (7
Editions from 1945 forward).

e Mine Safety Health Administration (MSHA) EH&S Regulations - 30 CFR
Parts 1 to 199
 

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Mr. Stephen E. Petty, P.E., C.I.H., C.S.P

e United State Environmental Protection Agency - USEPA - 40 CFR
(Including pesticides, hazardous wastes, permitting, remediation, and
Process Safety Management).

e DOT Transportation Regulations and Spill Response - Hazardous Waste
Operations and Emergency Response (HAZWOPER) - 46 CFR.

Mr. Petty is also trained in Hazardous Waste Operations and Emergency
Response (HAZWOPER) (40-hr.) and has served as a trainer for the 40-hr.
course.

Mr. Petty is a recognized expert in Risk Assessment (RA) having been one of 14
to take the first Risk Assessment courses offered by the Ohio State University &
University of Cincinnati Schools of Public Health in 1997. In addition to having
completed a dozen risk assessments, he was selected by the State of Ohio
Bureau of Storage Tank Regulators (BUSTR) to help write their 1999 UST RA
regulations. He was selected to train BUSTR staff RA (5-week course) and to
help write the on-line RA webpage, proof the equations, and to help with the on-
line help handbook.

He has completed dozens of indoor air sampling projects for residential,
commercial, and industrial clients. Clients include Grange Insurance Company,
Northwest Local School District, Children’s Hospital, Berger Hospital, Citgo,
Salem University, and Nestle.

He has completed dozens of mold field evaluation projects. In this area, he
attended a one-week ACGIH mold course in late 2002. He also received his
residential mold inspector credentials from the IESO in 2003.

Examples of specific projects completed are:

e Conducted worker illness [AQ program where Iraqi documents were being
scanned. Sampled for anthrax, bio-toxins, mold, bacteria, VOCs, CO and
COz2, temperature and humidity to help determine cause of worker
complaints.

e Sampled surface and materials for anthrax and bio-toxins at two
commercial facilities.

° Selected and completed analysis to determine cause of illness to players
in their locker room at Nationwide Arena for the Columbus Blue Jackets
professional hockey team.

° Served as an expert to the OSFC on building HVAC and human comfort
issues in school buildings.

° Developed implementation templates for several Process Safety
Management (PSM) and Risk Management Program (RMP) clients (e.g.
Nestle facilities).

e Prepared public meeting presentation materials for AEP RMPs at their
Conesville and Tanners Creek power plants. Focus was to match public
legal requirements with needs of the client, and development and
presentation of worst case and alternative case release scenarios under
Part 68 of 40 CFR.
 

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Mr. Stephen E. Petty, P.E., C.I.H., C.S.P

© Completed PSM programs for two Southwest Research Institute (SwRI)
facilities and two Nestle facilities. Focus was on completing process
hazards analyses (PrHAs) and on setting up ongoing PSM programs. For
Nestle, set up file-based system, wrote plans for all 14 major elements,
and provided detailed checklists and guidance on sections such as
training, mechanical integrity, etc.

® Completed multiple ventilation projects for American Electric Power Plant
facilities to determine best locations (performance vs. cost) for hazardous
gas monitors in power plants and whether or not ductwork was
contaminated with mold.

e Completed series of EH&S projects for Dublin schools (e.g. air quality
audits and noise analyses). Completed air clearance testing and reporting
and held public meetings for the vandalism clean-up efforts of Grizzell
Middle School.

e Conducted industrial hygiene audits and testing for numerous public and
private clients. Focused on HVAC systems, sampling (CO, COz, relative
humidity, molds, dust, bacteria, formaldehyde, VOCs, and isocyanates)
and remediation/abatement.

° Completed Failure Modes & Effects Analyses (FMEA) for DOD BZ Nerve
Agent Plant design. Plant was later built, operated, and decommissioned
in Pine Bluff, AR without incident.

Developed IAQ solutions based on ASHRAE Standards and new technologies
(e.g. desiccants).

Developed and taught OSHA HAZWOPPER courses (40-hr, 24-hr and 8-hr).

Voting member ASHRAE TC 8.3; corresponding member ASHRAE TC 3.5
(Desiccants).

Adjunct Professor at Franklin University. Instructor of Environmental and Earth
Sciences courses.

Engineering Experience

>

>

President and Owner of EES Group, Inc. (EES) since 1996. Developed EES into
one of the leading forensic companies in the state of Florida and Ohio.

Author of Forensic Engineering: Damage Assessments for Residential and
Commercial Structures, January 3, 2013, a CRC Press publication (24 Edition to
issue in early 2022). The book provides guidance on engineering claims
assessments for the insurance industry.

Developed forensics libraries and technical bulletins on how to assess insurance
claims and fraud associated with claims. Lead author of refereed journal article
reviewing hail damage from ~750 individual assessments.

Completed or supervised over 7,000 forensics inspection projects for ~100
insurance companies and other private sector clients since 2002. Projects were
associated with structural failures in residential and commercial buildings,
 

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Mr. Stephen E. Petty, P.E., C.1.H., C.S.P

structural damage and failures caused by vehicles striking buildings, water
causation and origin analysis, causes of plumbing failures, HVAC failures and
damage, roof system failures and structural damage, mold cause, origin and
removal, lead cause and removal, hail damage, and lightning claims. Also
completed or supervised over 200 insurance appraisals (negotiated settlements)
for the industry. Was selected and completed role as an umpire for a 36-building
one million dollar hail claim dispute. Testified in trial on roofing claim disputes.
Specifically requested for difficult projects and for projects in the state of Texas.

Led company in efforts to bid and win roofing and environmental contracts with
the Ohio School Facilities Commission (OSFC).

Managed the turnkey design, permitting, and building of a fuel farm facility
($750K) for The Ohio State University (OSU) Airport (2000). Project entailed the
layout, design, and installation of six aboveground storage tanks (ASTs), 12,000
gallons each, and the removal and closure of four existing USTs. Fuels included
Jet-A and Av-Gas. Project roles included site plans/layouts, preparation of
subcontractor specifications, construction oversight, concrete foundation and
subsurface design, permitting (PTI and PTO), start-up troubleshooting, and
commissioning activities.

Was lead researcher on two teams of nationally recognized residential and
commercial heat pump development programs: i) Battelle (Double-Effect
Absorption Heat Pump) and ii) Columbia Gas System (Dual Cycle Heat Pump).
Both projects met goals for performance (efficiency and capacity). Research
resulted in receipt of six U.S. Patents.

Co-designed parking lot and storm-water collection system for major trucking firm
on 40-acre site in Cleveland. Project began as a site assessment and concluded
with facility design.

Process engineer for 200 million gallons-per-day wastewater treatment plant for
a Weyerhaeuser paper mill.

Evaluated incineration technology and cost/benefit for an incinerator that burned
organophosphate and chlorinated thio-ether wastes. Developed source term for
present and future emissions under varying load rates.

Prepared a carbon treatment designs for removing organophosphates and
chlorinated thio-ether, and nerve agents from wastewater.

Designed/permitted first of three mobile wastewater treatment facilities in the
State of Ohio.

Developed a process to eliminate HF/tar hazardous waste generation from an
electronics manufacturing process.

Developed processes to reduce contamination of water from oil spills, including
biodegradation and controlled combustion.

Conducted bench-scale analysis of reverse osmosis, ultrafiltration, wet air
oxidation, and solvent extraction treatment processes.
 

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Mr. Stephen E. Petty, P.E., C.1.H., C.S.P

Environmental Experience

>

Provided 8-hr. Tier 1 & Tier 2 training to State of Ohio BUSTR site coordinators
(May 23, 2000).

Provided approximately 40 hours of Risk Assessment Training (five 8-hr. training
sessions) to BUSTR coordinators (May 1999).
Member of BUSTR’s new rules advisory committee (1999).

Completed over a dozen BUSTR Tier 2 and Tier 3 Risk Assessments (RA) for
clients such as CITGO, AEP, Anderson Concrete, and the Port Columbus Airport
Authority. Creative solutions saved years of remediation and millions of dollars.

Completed BUSTR Tier 4 RA for American Electric Power.

Completed Environmental Assessment for NASA - Lewis Rocket Engine Test
Facility.

Completed dozens of Federal/State air, water, and hazardous waste permits
(e.g., PTI, PTO, FESOP and NPDES) for dozens of industrial clients.

Developed Spill Prevention, Controls and Countermeasures (SPCC) Plan
template according to 40 CFR 112. Developed SPCC template, which has been
audited and accepted by Ohio EPA. Prepared site-specific SPCC’s for clients
such as L.J. Minor (Cleveland), Mickley Oil Company, Doersam LLC, Federal
Express Corporation (Blue Ash), and Central Ohio Asphalt.

Prepared hazardous waste evaluation for the NASA—Merritt Island Environmental
Impact Assessment of Space Shuttle SRB refurbishing facility in a wildlife area.

Developed a portion of the database used in preparing the original Resource
Conservation and Recovery Act (RCRA).

Developed BUSTR Residential and Commercial Risk Assessment (RA) Models.
Experience

Responsible for all intellectual property (e.g., patents) and commercialization of
residential, commercial, vehicle, and fuel cell technology for Columbia Gas
System and their development partners.

Served on 11 Industry Advisory Bodies [Gas Research Institute (GRI), American
Gas Association (AGA), U.S. Department of Energy Funding Initiative - $2 billion
(USDOE-FI), and Gas Utilization Research Forum (GURF)].

Served as U.S. DOE expert reviewer on cooling, heat pump, desiccant, and
power generation proposals.

Served on U.S. DOE expert review panel for desiccant program area.

Prepared business acquisition due diligence for Columbia Gas System corporate
staff (e.g. micro-turbines).

Provided technical and business due diligence for three venture capital firms on a
dozen emerging markets.
 

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Mr. Stephen E. Petty, P.E., C.I.H., C.S.P

> Authored budget recommendations for DOE Funding Initiative in Power
Generation, Cooling, and NGV areas based on industry consensus meetings.

> Served/Serving on ANSI and ASHRAE Standards Working Groups (221.40 and
SPC 40).

> Provided keynote presentations on Energy Deregulation for four major utilities
and several industry groups.

> Completed nationally recognized market research on U.S. cooling, refrigeration,
and controls markets.

Certifications, Registrations, and Honors

Registered Professional Engineer, State of Florida #76583, State of Kentucky #24116,
State of Ohio #49063, State of Pennsylvania #PE-053899-E, State of Texas
#101855 (also listed windstorm inspector), and State of West Virginia #16311

Certified Industrial Hygienist, 8067 CP, November 2000.

Certified Safety Professional, 23563, November 2012

Asbestos Hazard Evaluation Specialist — State of Ohio #ES34643

Certified Residential Mold Inspector — (IESO) - 2004

ASHRAE Certificate of Appreciation, May 2002, ASHRAE Standard 40.
ASHRAE Fundamentals of HVAC Systems — 35 CEUs (Feb. to April 2008).
AIHA CIH Refresher (Univ. of Michigan) — 40-hr. class - 1998

Certificate of Accomplishment in Risk Assessment from The Ohio State University
School of Public Health — 120-hr. class — 1997

Certificate of Achievement — Ohio Department of Transportation 80-hr. class —
Managing in the Environmental Process — 1997

Roof Consulting Institute (RCI) Courses:
® Advanced Thermal & Moisture Control (5/14/2008)
6 Professional Roof Consulting (5/15-16/2008)
e Roof Technology & Science | (9/15-16/2009)
° Roof Technology & Science II (9/17-18/2009)

Undergraduate Scholarships from the Pulp and Paper Foundation Scholarship Fund for
Freshman, Sophomore, and Junior Years.

Certificate of High Scholarship — Department of Chemical Engineering — University of
Washington — Jr. Year - 1978.

Undergraduate Scholarship from Department of Chemical Engineering, Senior Year.
Undergraduate B.S. Ch.E. - Cum Laude.
Graduate School - M. S. Ch. E. — 2" in Class

Raymond Roesch Award, University of Dayton, (awarded annually to top MBA
graduate); graduated first in MBA class with 4.0 GPA — 1988.

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Mr. Stephen E. Petty, P.E., C.1.H., C.S.P

Memberships

Member, American Industrial Hygiene Association (AIHA)
Member, American Conference of Governmental Industrial Hygienists (ACGIH)

Member, American Society of Heating, Refrigeration, and Air Conditioning Engineers
(ASHRAE). Voting Member TC 8.3.

Member, American Institute of Chemical Engineers (AIChE)
Member, Indoor Environmental Standards Organization (IESO)
Member, Roof Consulting Institute (RCI)

Member, Society of Automotive Engineers (SAE)

Member, Sigma Xi

U.S. Patents

U.S. 6,649,062. November 18, 2003. Fluid-Membrane Separation. Petty.

U.S. 6,109,339. August 29, 2000. Heating System. Talbert, Ball, Yates, Petty, and
Grimes.

U.S. 5,769,033. June 23, 1998. Hot Water Storage. Petty and Jones.

U.S. 5,636,527. June 10, 1997. Enhanced Fluid-Liquid Contact. Christensen and
Petty.

U.S. 5,546,760. August 20, 1996. Generator Package for Absorption Heat Pumps.
Cook, Petty, Meacham, Christensen, and McGahey.

U.S. 5,533,362. July 9, 1996. Heat Transfer Apparatus for Heat Pumps. Cook, Petty,
Meacham, Christensen, and McGahey.

U.S. 5,339,654. August 23, 1994. Heat Transfer Apparatus for Heat Pumps. Cook,
Petty, Meacham, Christensen, and McGahey.

U.S. 5,067,330. November 26, 1991. Heat Transfer Apparatus for Heat Pumps. Cook,
Petty, Meacham, Christensen, and McGahey.

U.S. 4,972,679. November 27, 1990. Absorption Refrigeration and Heat Pump System
with Defrost. Petty and Cook.

Books

Forensic Engineering: Damage Assessments for Residential and Commercial
Structures, January 4, 2013, CRC Press, 804 pp.
 

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Mr. Stephen E. Petty, P.E., C.1.H., C.S.P

Publications

Stephen E. Petty, 2020, Visible dust and asbestos: what does it suggest regarding
asbestos exposures? Journal of Scientific Practice and Integrity. 2(1). DOI:
10.35122/001¢.14496, August.

Stephen E. Petty, Mark Nicas, Anthony A. Boiarski, 2011. A quantitative Method for
Estimating Dermal Benzene Absorption from Benzene-containing Hydrocarbon Liquids,
Int. J Occup Environ Health, Vol. 17/No. 4, Oct./Dec, 2011, pgs. 287-300.

Stephen E. Petty, PE, CIH, Mark Petty, Tim Kasberg, 2009. Evaluation of Hail-Strike
Damage to Asphalt Shingles Based on Hailstone Size, Roof Pitch, Direction of Incoming
Storm, and Facing Roof Elevation, Interface, The Journal of RCI; May/June, Vol. XXVII,
No. 5, pgs. 4-10.

Peter F. Infante, MPH, DRPH, Stephen E. Petty, PE, CIH, D. H. Groth, G. Markowitz, D.
Rosner, 2009. Vinyl Chloride Propellant in Hair Spray and Angiosarcoma of the Liver
among Hairdressers and Barbers: Case Reports, |nt. J Occup Environ Health; 15:36-42.

Petty, S.E., Ball, D., Nation, J. and S. Talbert, 1997. A New, Integrated Compact Combo
System for Multi-Family Residences, Proceedings of the 48" Conference Papers
Available from the 48th International Appliance Technical Conference (IATC), May 12 -
14, 1997, Ohio State University — Fawcett Center, Columbus, OH.

Petty, S.E., 1997. Mack’s LNG Truck Ready to Move into Refuse Collection Market,
NGV Tech Update, Gas Research Institute, Spring Edition, pgs. 1 and 3.

Petty, S., 1983. Combustion of Crude Oil on Water, Fire Safety Journal, Vol. 5, pgs.
123-134.

Petty, S., B.A. Garrett-Price and G.L. McKown, 1983. Preliminary Assessment of the
Use of Heat Transfer Fluids for Solar Thermal Energy Systems, EPA-600/S7-83-021,
U.S. Environmental Protection Agency, April.

English, C.J., S.E. Petty and D.S. Sclarew, 1983. Treatment of Biomass Gasification
Wastewaters Using a Combined Wet Air Oxidation/Activated Sludge Process, PNL-
4593, Contract DE-ACO6-76RLO-1830, U.S. Department of Energy, February.

Petty, S.E., W. Wakamiya, C.J. English, J.A. Strand and D.D. Mahlum, 1982.
Assessment of Synfuel Spill Cleanup Options, PNL-4244, UC-11,90i,91, Contract DE-
AC06-76RLO 1830, U.S. Department of Energy, April.

Wakamiya, W., Petty, S.E., Boiarski, A., Putnam, A., 1982. Combustion of Oil on Water:
An Experimental Program, U. S. Department of Energy, DOE/NBM/1002, Contract #
AC06-76RLO 1830, February.

Petty, S., B.A. Garrett-Price and G.L. McKown, 1982. Preliminary Assessment of the
Use of Heat Transfer Fluids for Solar Thermal Energy Systems, PNL-4182, IAG No. AD-
89-F-1-623-0, U.S. Environmental Protection Agency, January.

Petty, S.E., N.E. Bell and C.J. English, Jr., 1981. Treatment of Biomass Gasification
Wastewaters Using Wet Air Oxidation, Solvent Extraction and Reverse Osmosis, PNL
 

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Mr. Stephen E. Petty, P.E., C.I.H., C.S.P

SA-10093, Proceedings of the 13" Biomass Thermochemical Conversion Contractor’s
Meeting, Arlington, VA, October 27-29, pgs. 718-747.

Petty, S.E., N.E. Bell and C.J. English, Jr., 1981. Treatment of Biomass Gasification
Wastewaters Using Wet Air Oxidation, Solvent Extraction and Reverse Osmosis,
Contract DE-ACO06-76RLO-1830, U.S. Department of Energy, October.

Petty, S.E., S.D. Eliason and M.M. Laegreid, 1981. Treatment of Biomass Gasification
Wastewaters Using Reverse Osmosis, PNL-4018, Contract DE-AC06-76RLO-1830,
U.S. Department of Energy, September.

Mercer, B.W., W. Wakamiya, S.E. Petty, J.A. Strand and D.D. Mahlum, 1981.
Assessment of Synfuel Spill Cleanup Options, PNL-SA-9806 — Proceedings of DOE
Workshop on Processing, Needs, and Methodology for Wastewater from the
Conversion of Coal, Oil Shale and Biomass to Synfuels, Richland, WA.

Eakin, D.E., J.M. Donovan, G.R. Cysewski, S.E. Petty and J.V. Maxham, 1981.
Preliminary Evaluation of Alternative Ethanol/Water Separation Processes, PNL-3823,
UC-98d, Contract DE-ACO6-76RLO-1830, U.S. Department of Energy, May.

Zima, G.E., G.H. Lyon, P.G. Doctor, G.R. Hoenes, S.E. Petty and S.A. Weakley, 1981.
Some Aspects of Cost/Benefit Analysis for In-Service Inspection of PWR Steam
Generators, NUREG/CR-1490, PNL-3388, U.S. Nuclear Regulatory Commission, May.

Petty, S.E., 1981. Potential Synthetic Fuel Spill Sources and Volumes to the Year 2000,
Contract DE-ACO06-76RLO 1830, U.S. Department of Energy, March.

Petty, S.E. and W. Wakamiya, 1981. Projections on Synfuels Production to the Year
2000, Contract DE-AC06-76RLO 1830, U.S. Department of Energy, January

Petty, S.E., and J.V. Maxham, 1981. Ethanol-Water Separation Using a Corn as a
Dehydration Agent, Contract DE-ACO6-76RLO 1830, U.S. Department of Energy,
January.

J.V. Maxham and S.E. Petty, 1980. Dehydration of Alcohol/Water Solutions with Solid
Dehydration Agents to Produce Alcohol for Gasohol, Contract DE-ACO6-76RLO 1830,
U.S. Department of Energy, September.

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Energy, September.

English, C.J., S. E. Petty and G.W. Dawson. 1980. Identification of Hazardous Waste
Disposal Sites and Management Practices in Region 10. Contract WA-79-A375, U.S.
Environmental Protection Agency, February.

Dawson, G.W., C.J. English and S.E. Petty, 1980. Physical Chemical Properties of
Hazardous Waste Constituents, U. S. Environmental Protection Agency, Southeast
Environmental Research Laboratory, Athens, Ga. March 5.

Wakamiya, W., J.V. Maxham and S.E. Petty, 4979. Biomass Gasification Wastewater
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Lzoz ‘9 Ainr payepdr — sesen sseuljy Yedxy jo Arewung — Ayed “9 usydais up

 

 

 

 

 

 

 

 

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Lzoz ‘9 Ainr pajepdy — saseg sseuypy Yadxy jo Aiewuins — Aled “3 uaydays “yy

 

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Lz0z ‘9 Ainr payepdn — saseg sseuypa, Yedxg jo Arewuing — Ayed “9 usyda}s

 

 

 

 

 

 

 

 

 

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6002-S002 OLO-SO0c-MV1 paso[d ainsodxg auezueg soy Auueq ‘yRUIe|d faquey ueeq “Y “JIN
(yyUuIe|q peyoddng) ueuWeWWIZ 4°y pue Saljjsnpu] peueg so09z AM ‘Buljeeuyn
/666¢1 ‘Ruedwion sweljjlAy uays ‘Auedwog Buunjejnueyy 009 aug ‘Jeeg UIE LOZ
€0 “ON esneg 900z XIg “dog sjonpolg sddiyq ‘s}onpold Buiysiul4 Buipjing seuBeny ou
juawames WMEYOW “OD Jule JayO, ‘AuedWOd |IO 1!84usS :(S)jUBpUaseq ‘11d ‘vaug.0 9 AameH
9002-S00e 600-S00¢-MV1 peyeyoBan aunsodxy jUueAjos IJOUBIYD YUBIY JO Syeyse pue yeuelyD sauder -yRUIe|d ojezayez AIeuseZ fT JIN
9002/ZL/LO
juepuajaq
IN’9-9r0 {q pasodeq 7 ‘uoIse
“ON asneg — (ynureld peyoddng) Oleh a Ne: oa
juawapies uononysuog AemyBiy ‘Je 18 UBBOID @ O1/S91A, JUEPUEJoq aUsald 2 JaYepIO ‘zing ‘Aaeg
9002¢-S00e 800-S00¢-MV1 payenoben — ainsodxg -eaIIS }SUD “O YORI “HHUIE!d Jayeplo “Yy Aa|peig “JIN
S002/60/60
juepusjeq
Aq pasodeq
0 e009 AM ‘BulleeuAA
-16900-LSL-2S (sapionsed) 009 Suns ‘jeans uleW] LOOT
“ON asneg gooz/tL SepIoIpluua | (yguteld Peuoddns) Bulpyng seuBeyy eu
jusweNes Wo} UOHeUIWE UCD Auedwos |Buoeusaj}uU] XIUIUe] = “JUBPUajoq ‘371d ‘uelig.0 9 heey
s00z 200-S00¢-MV1 payenoBan Apedoid Aepaan satuer “yQule|d ZUAID “d |PCYSIN JIN
LOESe om
‘uojsapeyy ‘seg ‘eas e1ulb,,
Gee Gunuteld PSHOECAS) | 9) sawed euO HUES O16 SUNS
-~0 “ON esneg aunsodxg Jaluad ony $,Aey e/q/p uosuyor puowAeY “J JUBPUaeq suiaer 9 Aajieg pong
400Z-S00Z 900-SO0Z-MV'1 pasojD SJEDILUSYUD SNOPJEZeY uos|IM "1 soAor “SJIA| PUB LOSIIAA ‘Y JSIUEQ JIA) ‘HHUIE|d pong “Yy Ans) IN
Seta e009z AM ‘BullseuM
SSe"S°E0 009 e1Ng ‘Jeans UIeEW LOZ
TON asneg LLOZ Aq pasodaq (yquield peyoddns) Buipying JauBen, oul
juewames JAMO, IUjs|q UBSeUNy ‘JUepUalEq ‘311d ‘vaug.O 9 AaeH
LL02-S00¢ Z00-S002-MV'1 payenoBen aunsodxg jUueA|oSg OPT -YHUIeld ojezayez Areyoez ‘f IW
(ynure|g psyoddng) ROESE AM rie
Gooz/e Leb pesodeq [EDIUBYIS| yseq ‘jeans BIUIBIIA $09
youelg yooy pue juswabeueyy sioqiy ‘uepuajeq me ye Keusony
g002 - S002 LOo0-S00e-Me 7] pesold ainsodxq eyjeuoibe] uOspNH F/O] -YHUleld Jaqieg sewer “ul
awvusawit | “Seong | Nolsioaq oarans ajou 8 (suepuajeq pur (s\unuIeld) ASVO Weld MV-VAFNYOLLY

 

 

 

 

 

 

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Lzoz ‘9 Aine payepdn — seseg sseuyipy Wedxy yo Aiewuung — Ayed “3 ueydays IN

 

Ul sJueAjos DUIUTE}UOD
suezuseq pue

‘|e 18 BUI OY ‘JUepUajaq

OOLL aHNS ‘eay UMET YEO ZOLE
‘O'd ‘ppng g udieg

 

 

 

 

 

 

 

 

 

2002-002 0z0-S00Z-MV1 pesold auezuag 0} ainsodxy yous, YHUleld Aoue|9 eskuaq “sj
900Z/6L/LO (UNoD d
Ayunoy aemelaq) = penoddns)
juepuejeq JEW) Ul peyysel Sed|q UOWLUOD jo UNO o1YO ‘AjUNOD aemeleq S908F HO ‘ilemog
JO JOARY ‘yaur] uo Bulureys 261085 UIASY “JIN ‘JUeEpUajeq ue IIUXNeA Lee
900Z-S00z 99L-9002-S3a ul uoIsINeq pue Ayjsiwuayo [ood sjood AIOE ynUleld aB103 UIASY “JIN
L002/02/20
(suepueled ; eee G6rz-Ce0SS NIN ‘s6unse}y
Aq pasodaq NIA ‘sory Jo AjuNod ‘Neg JoUjsiq [ENIPNP PIL SAU MAISON 666
6061-S0-SD euezusgq Bululeyu0o "Je Je [EDIWAYD PUES JUBPUajsq yaisng 8 SISIPJOAL7 HIOd uegels
g002-S00e 61L0-S00Z-MV'1 pesol|d S]UBA|OS 0} SINsOdxy SMysA YHUe|d SISIPIOACT] “W PJEUITY “JIM
9002/LE/LO
juepuejaq
81L280-250 Aq pesodeq ‘ .
"ON asneD SonziszAD (yqure|g payoddng) voles sie sa aeee
juswayes ainsodxy uoneiodioy seBuasseg peoljiey |EUOREN JUepUajeq dT zuemuos 2 SUNK UBJOION
900¢-S00¢ 8L0-S00c-MV1 payenoben ysneyxe |eseiq ueBlow Har ynUle|d ZUBMUDS “FJ SEWOUL ‘JIN
SL (yyule|q payoddns) e009e AM ‘BuseuM\
-O-S0 #8829 BILIBIIA SEM ‘AUNOD |JEYSIEW JO YNOD YNUID 009  Mipina auEeRL Bal
juewayes s]UsAjOS Bulureyuos) SHE ONY UOYeSI UEPUSj9q ‘11d ‘ueug.O 9 kauey
600Z-S00zZ 9L0-S00z-Mv1 | = payenoBen auezueg 0} aunsodxy Buljog eulned synule|d ZHAI “¢ [BBUDIY JIN
(ygure|d payoddns)
udIsIAIG UOSHOeP Iddississi/\y
$0 JOLISIG WeayNOS BY} JOY UNOD PUIsSIG Se}E}S PSyU] Ou} U|
OL 9002/02/6 Juepusjeq (s)juepuajeq ,90q uyor, ‘Auedwod
-G00Z ‘ON 8829 Aq pasodaq Sdipiyqoaueg ‘ouy ‘sBuipjoy jog nq epi pue ‘uj ‘oooUDD S0/Z-LOzEE Iddississiy ‘uosyoer
jo uoisiniq 2 ‘Buya yey pue sed od0U0D efy/e ‘AIJENpIAIpUl yang joudeg ozs
9L-S00z juewayyjes auljoseb wo “Qu| ‘ooouND ‘du saul] YONIL WNgIg juepusseq mer] ye Kawony
200Z-S00z vL0-S00Z-MMV1 payenoben auezueg 0} ainsodx3 Apun7 jeor pue Apuny Aes synuield Wid “UP ‘uosTeM “H sino7 “JW
(Auedwoy soueinsy - juepueyeq peyoddns) 60SOF AW ‘uOIBUIXeT
puejoy Aue] “A ZOZ aUNS ‘soe|q snosdsold OZL
Je 38 “oul ‘Auedwoy BujeBnuog Buysayna e/q/p uoeodiog OSd ‘JOxULL g UoSBnds
g00¢-S00¢e €L0-S002-MV1 peso|d aunsodxy says YBungspid-Buyjaayp, ‘A |e }8 ‘supjdwo “y eqoy uoaBbinds eipues ‘sj
€009Z AM ‘bullaeunn
L-6€L-O-S0 (ynuie|q peyoddns) J23.1$ pi, os
“ON esneg 9002/10 EIUIBIIA ISOM Aunoy uoswiey jo no unouIo Ou} Ul Guiping souBeny ous
JUBWAIES ainsodxg ou] ‘sees aulbuy ASullyAA 2 Held JUepUaseq ‘11d ‘uaug.o 9 AaweH
g00z-s00z LLO-S00z-MV1 payenoGen =| sjeqlwieyg snopseze} ayIM SIY ‘BN “S Bjewed pue sen "H SEWOYL “WHUIeld Agquey ueeg “Y JIN
ase:
ayuda | *Socn | Notsioaa Loarans ajoy @ (sjuepuayeg pue (s\ynuIeid) ISVS Wald MY VAANNOLLY

 

 

 

 

 

 

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Lzoz ‘9 Ainr payepdy — saseg ssauyny Wedxy yo Arewuung — Ayedg “4 uaydays “J

 

(ynure|q peyoddns)

 

 

 

 

 

 

 

 

SrsS00 9002/2z/6 JUBPUSjSq ‘
eS ‘ ‘ 6L2S/ XL Seileq
“pO “ON Bsneg juepusjeq Aq pesodeq oo XL ‘seed “Unod FeIOIPAP HBEZ | 4) | sung “any UME HEO ZOLE
JO JOAe} JE 39 ‘OU ‘AINASU] LUNZjONSY UBS :(s)}}UBPUaJEq ‘4 ‘ppng @ uoleg
8002-9002 g00-9002-HVa ul UOIsI99q aunsodx3 abe ‘ejoiyseD euuod ‘SHHUle|d foue|D eskueq ‘si
(yguie|g payoddns)
yoouweyg puoweig XL ‘Aung euozelg ‘NOD PUIsIq |EDIPNL weTZ
_bLE Se JO} BUDJOM aU . JEO1WeYD 6LZS/ XL ‘selea
ON esneD sjuaajos Bururejyu09 JE}USPIN9O pue sdijjiyqosouND ‘Ayeisads Joyelpey ‘OF-CM OOLL sung “any UME] YEO ZOLE
auezueg pue 18a “S'N ‘UOYETeY ‘yOouwweys puoweiq :(s)jUuepuajeq 7d ‘ppng g udeg
2002-9002 Z00-900Z-HVa pasol auazuag 0} einsodx3 seon] Aoul :syuleld foue|g askuaq “sil
4002/90/20
(s)juepuajeaq (yquie|q peyoddns) ‘Gunes
YINY L1Z Aq pasodag AM ‘Aunog eyoolg Jo UND yINDWID 009 cane tone ule ane
-O-S0 “ON SSeD L00Z/90 Auedwoy ued sajejg payup pue “ou ‘s}usAjoS “Bulpjing TSuBe M eu
juawayes aunsodxy jeaiuayy du] ‘Auedwog jesiwayd jes (sjuepuayeq ‘911d ‘ueug.0 9 AameH
4002-9002 z200-9002-YVH payenobsn jeolwsyD a1UebIO UYWS SIMI, PUB YYLUS “D PIeYe -HHUIE|d Aaey ueeq "Y JIN
9002/1 L/6 (yaureid psyoddns)
uo JUepuajeq OW ‘souspuedepyy ‘Ajunog uosyseP jo WNOD JINDID Lop ane oie enon
ZE9L0ZAD~0 Q00Z/SL/0L Aq pesodeq OU] ‘eOWSWUY UUON S}onpold  “Burpjing WeUpIO SUL
"ON esneg jusWwaes dg pue “ou| ‘eouewy YON UoRelodiog dq UepUaeq uuly meq SISNEN OUL
900¢-S00¢ +00-90-TVM. peyenoban ainsodxe suezueq [838Q ‘HAUIE|d SISyEN\ UOT “IN
g00z/6z/8 (yure|q peyoddns)
uO JUBpUajoq Aueduo4 |IO }eUS Puke “OD JeoIWeYD UeWISsey *“Ou] ‘Y;NOS
fq pasodeq -pil| Bequusig “ou ‘sBuneod |eqoN OZyY “OU] ‘Pjoyysiey
ZbvL0-cv0 “doy aieydsimieyd “oul ‘pue|ysy ee coe iL POLEQ UNossI\ ‘sino7 1S
"ON asneg 9002/6 Buunjoeynuew “oul ‘s}eoIWUaYD 9 S}USAJOS JOLIadns ‘jUepUusjeq J20NS ye 'S 0002
juswapes quied wo ueuBealg siouei4 uaAe}s jo UsIpyS Buiaiwins se ueybeap dT] ZHEMYDS 8 SHU UEIOIIOH
2002-002 ZZ0-S00Z-MV1 payenoBen aunsodxe suszueg ugey jelueq pue ueyBealn s|syoI BINSIN “WHUIeld Zuemuag “y SsewoUL “JI
OZLZ0E0-V-'ON 90/SZ/F pue
asned - u 90/6z/e (S)uepuayeq (yguleld peyoddns)
OsUDyIVSAaNS kq pasodeq XL ‘Aunoy sbueio ‘ynog joujsiq jeoipnr WezL
sjue|d jeo1wayo ‘Te 8 Auedwog Ayeleds sojeipey -(s)}uepuajeq 6LZS/ XL ‘selea
L100 ‘S@USUYSI ~SJUSAJOS yaqeH ‘Ss ABBad pue UOSUDIIIM “AA HeqieH OOLL ang “any UME HEO ZOLE
-900Z-YvE 8 juSWwayas Sululeyuoc2-auazuaq sqqnig “| ueg Jo aje}se au) Bunuasaide ‘sqqnis uy ‘sj -J'q ‘ppng 9 ucleg
200Z-S00z LZ0-S00Z-MWV1 peyenoben auazuag 0} einsodxg "(saseo om) UOSUPIIM 8 SAqNIS :synUle|d foue|D askuag ‘si
(yguie|d peyoddns)
VW ‘Ald ‘OLLZ9 sjue|d jeojwayo Bue!sino7]
“ON asneg pue saeuyod Jo aJeIg ‘aIIMJAq] Jo YsUed AY} 104 ‘NOD Joujsiq jelsipnr Wel 6LZS2 XL ‘seed
awvusawit | *Scfong | Nolsioaa oarans ajou 8 (shuepuayag pue (s)ynureld) ASVO Wald MVVASNYOLLY

 

 

 

 

 

 

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Lzoz ‘9 Ainr payepdn — seseg ssaurijy Wedx3 jo Arewuung — Aye “gy usydals up|

 

JO0|4 WUSSISUIN SUL

 

 

 

 

 

 

 

 

 

jusWwalyes ‘Je Je ‘pesessaq Jayads 2 aullry
ZL0e-2002 L00-2002-TWM. payeyoBbeny ainsodxy suszuag ‘JEAIOH ‘f MeIPUly JO aye}sy ‘JEM UsIeEy “YIUIE|d JaBiaquapeny wit “JIN
(ynule|d payoddns)
oosioues4
ues Jo Ayunog ‘elwopeD Jo ayeyg ay} yo yNOD soUSedns
“OU ‘BOIAIES 7S puke “ou|
9860C7 \uawaBbeueyy puejBp uesoosyuy “dod |INO ‘oul ‘sueyUeL
_v0-999 aBpuquesy ‘ou ‘dnoig Jayue| neeunr ‘ou] MeWEBEUEW BOL? WO ‘oosiouRl4 ues
“ON SSnNeD 8002/0 dius (9$0) dnols Bulplingdius seasueaQ :(s)}UepUuayaq | aling jeans YyBnog coz!
jUSWa|HeS ueaq "fT WEIIIM | sayBnyH ft uYyOor jo SeN1IWO MET SUL
8002-4002 L00-2002-9NH peyenobon ainsodxy auezuag JO 8}2]S9 Oy} Jo JOyeNsIUILUpe se ues “J [AIUeq “YHUIEld sey6ny uyor wl
(ynule|q peyoddns) Ow ‘hig sesuey
' 9079 OW “I!
LPE60Z-ADPO souapuedapu je uNnossi| Ainog LeSper jo WnoD NID cop eune tsene tag 1824.01
“ON esneD ‘Je 38 ‘OU ‘eoWaWy YON sjonpold Buipling WeYPIO eu
juswayes dg pue “ou ‘eouewiy YNON uoReIOdIOD ‘q’g -(s)juepuajyeq U4 MET] SISHEAA UL
L002 L00-L002-1WM payenoban aunsodxg euezueg pasy UBeS ‘YRUIE|d SISYEM UOT “JIN
W6r-O Spitting en need (unureid pevodens) ZSP9Z BIUIBIA SANA ‘UO}SS/\A
-€0 “ON esneD ‘UM yuejnso0|4 eu Bil,, S39 ‘Aunog [EYSIEW #0 HNOD HNIND _ OLEL Jemeiq ‘O'd
juawemes apiwe|Aoes|Od ‘Je 3 payeodioou) jeywayD :(s)juepuajeq Useld 8 JEXEDIO ‘Bing ‘kayleg
pood -00-2002-d10 payenoben 0} aunsodx3 ‘JE 38 WIS WEIN -SHHUIeId Jayepio Aa|peig “JIN
(yQuIe|d peyoddns) .
ZOL6L Wd ‘Bludjepeliud
8002 Joo|4 yOz 2823S NUJEAA OOS
jUsUS|HSS -(s}uepusjeq UU} ME] S¥307]
8002-9002 -00-9002-D07 payenoBan aunsodxy suezueg SULYUSP YD HHUIE|d quogng Mapu ‘JIN
LOOZ/E L/E JUBPUSJSq
e0ra.8e0rz fq pasodag ° SNe k Pape aizen wi seed
“ON esneg sjuanjos Bulurejuoo XL ‘Aunog euozesg ‘UNO UISIC IEOIPNE PIEZ | 4 suing “any UMET NEO ZOLE
juawalyes auezueg pue Joyeipey Ayeloads ‘}aUg ‘ell, jesausg :(s)juepuajeq ‘J’ ‘ppng 9 udleg
g00z-9002 600-900¢-YuvVa payeyoben euezuaq 0} einsodx3 PUN|Ex49q -SHHUIE|d YOUNe|D Wy “IN
uo] YaeS (yuyure]q papioddns)
O-88c0sOV JO} BuUryJom d|IyAn . . me BLZSZ XL ‘selred
“ON SSneD sjuanjos Bulureyuoo XL ‘AuNoD aBueioc ‘ynod Jujsiq [esipnr UIgZL OOLL aung “any UME] HEO ZOLE
juawapes auezueq pue ‘Je }@ SeLysnpu] Wingysy :(s)juepusjeq ‘Jd ‘ppng 9 udieg
4002-9002 400-9002-4va payeyoBen euezued Oo} einsodxy JaBoy wy pue (peseeosp) seBoy Aue] :synuleid fouel9 eskueg ‘sj
(ynure|q peyoddns) ‘seie
€/90079002 sioutl| ‘OBEOIYD ‘AjuNOD YOOD JO NED MWD | | suing vg we are a a
“ON @SNe ‘|e ye ‘dog sjonpolg Aeids :(s)juUepuajeq : ‘7y'g ‘ppng @ udieg
4002-9002 900-900¢-YvVa L002 aunsodxy suezueg Jajuadied pine “YHUIeld Aurela eskuag s\
awvusawit | *Scrong | Nolsioaa oarans 910u g (s)uepuajeg pue (s)yNUIe|d) ISVD Wud MVVAANYOLLV

 

 

 

 

 

 

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Lz0z ‘9 Ainr payepda — seseg ssauyjy Wedxy jo Arewuung — Ayed “a uaydelg IW

 

(ypule|q peyoddns)

LOVES OS UO}seLEYD

 

 

 

 

 

 

 

 

 

“70 ae So Oe BIUIBUIA ISEQA ‘AUNOD OBUI Jo YNOD YNWID ee eae

L00 juawames ‘2 yo Auedwiosy je0D uny syoolg ‘jJUepuajaq 9 YOOITISEM ‘YOUIed ‘UOSPIeUTY

g00z-200Z -1002-GMdy peyenobay SISODI|IS WO SIUUSQ “{UIE|d peaysjo7 ‘y AoBals ‘JIN

(ynurelg peHoddns) 801-79 OW ‘AID sesuey

L8001-zs0 UNOSSIW JO SJEIS ‘SINC Ig Jo AUD BU} Jo UNED AyD Ose suns “Py ie pire bis

“ON 9SneD 8002/91/80 . Auedwiog WI me yore]

jUaWayes ainsodxy Aempey 4 ejues 9 WeYLON uojHulng ey] jUepusjeq 9 saldeN |EeN.O eed |leqanH

g00¢-L002 L00-200¢-aNH poyenoBean Hid JaxJonA peolley JenBeuwly | veqoy “yuuleld uoplos yONYD IN
(yyure|q payoddns)
“gouspuadapy| ye unossipy ‘AjuNOD UoSsyaeF JO UNDD YN

"aus (OOOWY) Auedwog ‘

cresecADrO [IQ UBDLALUY JEUO4 — OU] Sa UON s}onpold Loy an woe Rea

“ON @sneD B00Z/Z0/E0 dq pue ‘ou] Poe YON uoRelodi0g dg ‘Juepuajeq Buipjing WeUPIO eu

jUsWayeS peseacep JewAyeg Pleyoly Jo} wall] UWI ME] SISA SUL

g00z-002 €00-200Z-NO1 payenoBan aunsodxy euezueg PY yaule|d se pue Aljenpiaipul ‘JewAyeg eveqieg “YNUIeId SISIJEN\ UOT “JIN
(ynureld peyoddng)

QL ‘Ald aouspuedepu| je Unossiyy ‘AjuNoD uosyoeP Jo UNOD UNDO .

— 09€602-ADP0 aus (ODOWY) Auedwoy Lor eqns Wang Mocs eee

“ON esneD IQ URSA JAWUO4 — OU] EQVeWYy YON sjonpold Buipling WeypIO au

juewemes dg pue ‘ou eouewy YON uoTeJodiog dq ‘jJUuepuajeq U4 M27] SJOVENA SUL

£002 z00-2002-NO1 payenoban einsodxy suezueg yOUpsyH sodor ge YOUPEH [Ned “YHUIEId SIS}EAA UOT “JIN

68627120 ete OOLL suns tony tne EO. Zole

"ON esneg 600Z/Z0 Ayunoy elydjapeyiud seajq UOWWOD Jo uNDD : <5 d “DENG 8 WARE,

juswayyes ‘Je ye Auedwog we :(s)juepuayeq png 9 uoleg

6002-2002 700-2002-uVa payenoben sojsaqsy PIM INEd PALMA -YAUIE|d sopBbue7 uyor “IW

gSl (hucield peviodans) ZGPOT eIUIBIIA ISAAA ‘UO}SAp\\

-5-10 “ON 8SeD Bnnaien Bulb, JSan\ ‘AND inysdp Jo UNoD yNdID a OLSl seme ‘O'd

juawayes quapiooy YIPOS Buyoejuog Syl jUepusjeq Susalg 9 JaY¥epIO ‘img ‘Aalleg

g002¢-L00¢ c00-£002-010 payenoBben yjeeq [NjBuonA SYelg YOWJEd USEC JO SjEISA YUE}, Jayepio “Y As|peig

(ynurelq payoddns) vOLLL XL JuoUNeeg

ZEz-9002 sexe] Jo ae} ‘Aun ysny ‘WN eine Uy eas ue, s eae

“ON 8sneD 800Z/70 ‘dios yBnojg-Buusyos juepuajsq ‘A717 ‘Keuyduin 9 Jsonolg

yUSWA}9S ‘|e Je ‘paseaceg ‘YyonyD ews, jo syejsy sywieg BUBNL.C ‘SIN

8002-2002 L00-2002-uWd payeyoben eunsodxy euezueg ay} JO anejueseidey se pue AjjENpiAIpu| ‘ssod UEP -YHUIe|d apAH Ue “P JIN
(ynule|q psyoddns)

20-26~000-019 Ayunog Je}seono|g Aesier MON JO NOD JoUSdng ZOL6L Nd ‘elydepeliud

“ON asneg ZLOZ/LO ‘ye ya Aueduos |IO euelg :(suepuajeq yeas JsNd07] SZSL

awvadawit | “Sofood NoIsIo3q 1oarans alow  (s)juepuajaq pue (s)ynuIeld) SVD Wala MV"VASNYOLLY

 

 

 

 

 

 

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Lzoz ‘9 Ainr payepdrn — saseg sseuypy Yedxg jo Auewuuns — Ayed “3 uaydals “JIN

 

LLZ-9
“70 “ON asneg

(ynule|d peyoddns)
AM ‘Munos jreysueyy Jo WNOD yNIUID

e009Z AM ‘Buyeauyn
009 SUNS Jeau}g UIE LOZ
Buipjing JeuBeny au.

 

 

 

 

 

 

 

 

juawapes ainsodxg je }8 “Ou] ‘UBDHEWY YON ico :(s)juepuajeq ‘211d ‘ueug,0 9 heey
3002 L00-8002-UVH payenoben jeoiway a1Ue619 puowAe} BWJON pur PUOWWAeH “g JEW “YNUIEId Aequey uesg “Yy JW
( weed Lic
s)juepuajeq
Aq pesodaq (ynureid peyoddns) g uNnossi|y ‘SINO7 1S
g0e 190 :esneg JI ‘Aunos weI9 3S — HED yNDUI1D CS Dae va |
OLOd/s z 23S w8 S 0002
juawajyes ainsodxg auezusg Auedwog Aempey weyjnog 9 UCYYy ay) jJUBpUaeq dT] Zuemyos 9 Sty UBIOIIOH
OLOZ-8002 €00-8002-HOS payeyoben pue jasaiq peoliey Spjely SPWOL {YNUIE|d ZUBMUDS “3 SPWOUL “JIN
(yuule|q Bumoddns)
UOISIAIG
LLOZ/Po/s me quawpedaq AyuNoD sioull|| AuNOD yOOD Jo HNOD YNDIO
8cSl (s)juepusjaq Auedwiod we pue Auedwoy suljovjep, au “Du| POLE9 UNossIW ‘sino7 1S
190 “ON 8seQ Aq pesodeq ‘ooouns ‘uoqeiodioy winajojed ObyID “oul ‘sjesIWSEYD g JB2NS WSS 000Z
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Lz0z ‘9 Ainr payepdn — seseg sseuyipy Wedxg jo Areuung — Aad “3 usydays “IA

 

 

 

 

 

 

 

 

 

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Lzoz ‘9 Ainr pelepdn — sasea sseulp, Wedxg jo Avewuung — Ayed 3 uaydays uw

 

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Lzoz ‘9 Ainr payepdn — saseg ssauip,y Wedxy jo Arewuing — Ayed “J uaydals “JIA

 

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Lzoz ‘9 Ainr payepda — saseg sseutpy Ledxa jo Arewung — Aye “3 uaydals I)

 

*SEXd| JO JOLYSIG Wsa}sey Sy} JO} WNOD JOUJsiq Se}e}S PSU
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(yquie|d peyoddns)
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ON 8SeD oLoz QUISAON ‘AUNOD eBlydjepellud Id ne yNoD OOLL ung “any ume] YEO ZOLE
jEWeNes AUEPHSISC ‘O'd ‘ppng 9 ueg
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(ynure|q payoddns)
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(ynure|q Buguoddns)
UOISIAIG UO}SNOY Sexe
JO POLASIG WSYINOS Oy} JO} UNOD PUjsIq SS}E}S Pepur) Oy} U|
‘Je 38 UOReIOdIOD |IGoyUOxxy “jJUepUajeq JZOLL XL ‘uoysnoH
LO0-6P891--0 pasessaq ‘euuel O6€ eins ‘aue] xassy OO6ES
“ON BsneD SUARAA SILWWIP JO BJ2}SJ SU} JO JOJeySIUILUPY JUSpuadepu| sayeloossy 9 JepeluS
6002 -00-60-4HS - ainsodx3 suezueg se pue Ajjenplaipu| ‘Jeuue] JaAjO eBioag :(s)ynuleid “uoyed Wey JIN
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Lz0z ‘9 Ainr payepdn — saseg sseupny Yedxy yo Auewuing — Ajed “3 usydays “JI

 

-UOHelOdoD 4ISyq UORelodios JuOWU]-4Sy¥q ‘UoHesodjoD
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ON SsneD OLoz ‘gidpueis asijAou, pue UeLU|YOY ULL ‘SaIped BASIL J9]U95 SIND sul
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(ynure|q paHoddns) f .
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(synule|q peyoddns)
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JB J "OD SWEIINIAA
-UINJaYs aul "OD yepoy ueWw}sey ‘oul ‘saiBojouyoe] oojlsu|
“dios jeaisg seyels payun ‘Auedwos Ayereds soyeipey
hy eee -ouy ‘Auedwiog uns e/fy/s (Arey) ‘oU] ‘CoouNS a ZOL6L Wd ‘eludjepe|iud
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quawelyes ‘sIAeQ P[BUOY JO JUBWE}SE| PUR III }SE] SU} JO SIO}NIEXxy WI} Me] S¥907
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(ynure|q payoddns)
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Lzoz ‘9 Ainr payepdn — seseg sseunpy Wedxy jo Arewuuung — Ayjed “3 usydays ul]

 

pue “J 71 [2aIS Sees paywun epyy ‘Ayenpiaipul “uopesodioD
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gu] ‘sBulpjoy jug ng se uMOUYH ALSO) pue “Duy ‘OD0UOD
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jo Auedwioy euyojeg uedueWy se UMOUy AeULOJ pue
Ajjenpiaipul “oul ‘sjesiwaysoned euyoyy -AuedWiod jedIWeEYD
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juswWa|}es JO a]2}Sq Su} 0} Sula} se pue ‘Alenpialpuy ‘Jousjuoy “Ss AWY | 477 ‘Jaqn7 yg pnojD ‘suigoy ‘piesy

6002 800-60-1DHH pajenobay ainsodxy suezusegq pue UOSUaAe}S “ UBpIOr ‘uOsUsAa]S UeSNS :(s)yHUIe| yoelg Waqoy “JIN
(yyule|q payoddns)

sila 6LZSZ XL ‘Selle

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(ynule|d peHoddns)

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® Jule SAOWOINY “OU ‘aJeS ape] “Su] ‘SoWIas JOjOD
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alqi4 0} }Salayu|-ul-sosseoong pue A|ENplAlpu] “OU] ‘SOA,
joo] siouyj|| ‘“dioD saysiuly aAnowopny SWEe!||I\\-UINIEYS
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awvasawit | “sofoq | Nolsiozq 1oarans aj0u g (suepuayeg pue (s)ynUIeId) ISVS Weld MVV/ASNYOLLY

 

 

 

 

 

 

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Lzoz ‘9 Ainr payepdn — seseo sseuyny adxg jo Auewuing — Ane “gy uaydays UY

 

Nuno eiydjapeyiud ‘seajq uoWWOD Jo "nog

 

 

 

 

 

 

 

 

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sojsaqs'
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“ON OLOZ/e0 . . . . OOLL SINS “Say UME YEO ZOLE
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sojsaqsy (sygule|q payoddns)
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Lzoz ‘9 Ainr payepdr — seseg sseuyan Wadxy jo Arewituns — Ayed “gy uaydals “iW

 

Uapule — UOISIAIG meq] ‘ASSiar¢ MAN JO NOD JOWedNS
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GUC suoHelodioD 30q uYor pue “diog Ajeay Ayan ‘dog
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(synure|g peyoddns)
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Lzoz ‘9 Ainr payepdrn — sesea ssauypy Wedx3 jo Areuwung — Ayed “9 usydays JW

 

(synurelq payoddns)
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ZL0Z-L LOZ LOO-Lb-LaW payenoban einsodxy suezueg ‘Je 39 Bulg usrsys :(s)yquieid aBpyjooD Bald JW
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ZLOZ-OL0Z L00-01-OWd ul uoIsI9aq ainsodxy suezuag SWENNMOW Buoy :(S)WBUIE|d UMOIg Uae “IN
pLOZ/OL/Zb
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awaidns ay} (synure|q peyoddns)
Aq peuuyuog epenaN ‘AUNOD WeID ‘UND JOUNSIG
Mapa Auedwoy pjayyory oyueyy pue ‘oul ‘eoWewy YON
slonpolg dq :Auedwoy Guluyay ooso] ‘uonesodiog oosoL
LLOZ/OL Soul “WSN uoIAaYyD ‘Auedwos jesweys jays ‘AuedwioD
WAX HUE} JO JOABR sdilyqoooucs ‘477 ‘suaupeg ABieuy ueBHio| Jepury
‘ydeq ‘egsgosy ul UOISIDEq ‘uonelodioy epenan e ‘Auedwos |IO jeqey jUepuajeq LZ0LL XL ‘uosnoy
TON 8seQ SIMe] O6E a1INS ‘sue7 Xessy QOG6E
LLO¢/82-L2/60 “G4OIY JO JIBH ‘SIMa] SUE} pue -sims] “q YoY JO B}e}sy “d'7171 ‘saqepossy 9 Japeiys
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(sygure|q peyoddns)
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Lzoz ‘9 Aine payepdn — sesea sseutjy Ledxy jo Arewuuing — Ayedg -y uaydeys “JIN

 

 

 

 

 

 

 

 

UOISIAIG Me]
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(ynule|dq peyoddns)
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ypeag ‘uogeiodion semeag e ‘oul ‘Yqy ‘uoHelodjoD
ELZb alemejag e ‘Auedwoy 9 juog ng ‘| -(s)juepuajeq ZSPOz AM ‘UOIseM
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(synuie|q payoddns)
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(synure|g payoddng)
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jelsipnr ujog ‘sexe ‘Ajun0D uosuayer ‘UND JOUsIG ey} Ul]
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Lzoz ‘9 Ainr payepdy — seseg ssoull\y pedxg jo Arewuing — Ajed “3 usydays uy)

 

 

 

 

 

 

 

 

‘Zo ‘OL Aine ‘Kuedwioy Ayeads Jojyeipey “oul ‘XS}eULIad O} JSSJSIU! | 4, d
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juawayas “Qu ‘S@UISNPU] DUD {oul ‘sjonpolg ueWAUE :(s)juepUajaq wi 4 meq $4007]
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(sygure|d peyoddns)
elueajAsuudd
wrs JO JOUISIC WS}SAAA SU} JOJ NOD JOU}SIG SS}E}S PSPUF Ou} U]
-L9Z00-AD-L Lb “oul ‘swiajsAS ‘siudiepe
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juawaes ‘uaepy-Ajayes eyayp swiajsig usepy-Ajeyes :(suepuajeq sayoads »g Oully
QLOZ-ZLOZ LO0-2L-ITH peyeqoben aunsodxy suezueg sjuehiobug euevey pue sjueMobug uegny :(S)HRUIEId Wels “fT MeIpUYy “JIN
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uaapy-Ajayes e/q/p pue yy6u umo sy! ul! ‘dod usely-Ajayes
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jeea1g saqeys payup ‘Auedwog Ayeloads Joyeipey 'ou] Pek EI suepuSdepe unos Ae
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ON eseD ZLOZ/LL onuepy ‘ou| ‘eouewiy YON UoneIodiog qq :(s)juepuayeq . yaya sing eu
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juawayes Kxoueipeues ‘Auedwiog wnejojed objID :(s)}uepusjeq Kaaydwiny Jong
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(syqure|q peyoddns)
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ploz uonebniq 71 ‘suesudiaquy uoyinby ‘Auedwog Io |!@4s -(s)juepuajeq met iy skeu Lon SuOWULUIS
vLOZ-2L0e LO0-2L-NIS “Bld Perjosey ainsodxy DOA x09 Ayeg pue sewer :(s)ynUIe|d SUBURIS) Pal “JIN
(ynuleid peyoddns)
ese
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Lzoz ‘9 Aint payepdn — saseg sseuyA, Wedxy jo Arewwns — Ayed “4 uaydays uy

 

 

 

 

 

 

 

 

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(gauleld peyoddns)
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€L0Z-cL02 c00-21-Oud peyenoBbsay einsodxy suezuag uojBuiyseyy “CD efioes y poompews Ajjig :(S)yAUIeld apAH Uey “JIA
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juepacaq jo sBurjqis Bulaivins auj se ‘Weld PleMpy
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(sunule|q peyoddns)
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Lzoz ‘9 Ainr payepdn — seseg sseuip, Wedxy Jo Arewuung — Ayed “3 uaydays “JI

 

 

 

 

 

 

 

 

podey
ajaq Bumiodd
W-EL60L1 yedxg pue isip ais (juepuajeq ma ats) ean ey enTIE
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yedxg PUe jISIA ayIS
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juawayes uojdwepy ye jeinjonns je Je ‘Auedwog poysig "Aa :(s)juepuajeq jasunon YeIg sue|anel |
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(synule|q peyoddns)
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JUBLUa|}ES Ajenpiaipul ‘peay jouer pue peay Sy! ‘simeq uber ‘sIMe] Me] Ty Shawoyy SUOWUWIS
€L0z Z00-€L-INIS payenoBen einsodxy euezuag Aoi ‘yong eysieyy — uoNoY sse[Q uojeBpug :(s)ynule|d yoo||og Buuy or “si
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Lzoz ‘9 Aine payepdn — saseg ssouyjy Wedxy jo Arewuung — Ayed 9 usydals JN

 

pue ‘Auedwo4y jeonuay jesiuyse) “ou ‘Auedwoy |iCQ uns
ery pue ‘ou ‘Auedwosd uns epi} (WPgY) ‘dU ‘oDOUNS “ou|
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jusWs|yaS Uaspy-Ajajeg “oul ‘UaIPIAOD “oul ‘JpouyoureEW :(s)}UepUajeq dT ‘Zuemups 9 auf UeLOIIOH
¥L0Z-E10z L00-€L-10H payenoBen eunsodx3 euezusg ‘ap ‘yeAng Kou :(S)WAUIeld ZHeMYDS "Fj SEWOYL “JIN
vLOZ/e/e (synure|d peyoddns)
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‘SJBD OAJOA, {(IAP9H) “OU| ‘COOUNS ‘uoHeJOdIOD 93907] jaxUaH
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Lzoz ‘9 Aint payepdn — saseg sseuyA, Wadxg jo Arewiuins — Ayedg -g ueudeys “JN

 

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